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                                1    BRIAN T. HARVEY (SBN: 238991)
                                     NICHOLAS S. COUCHOT (SBN: 331971)
                                2    BUCHALTER, a Professional Corporation
                                     1000 Wilshire Boulevard, Suite 1500
                                3    Los Angeles, CA 90017-1730
                                     Telephone: (213) 891-0700
                                4    Facsimile: (213) 896-0400
                                     Email: bharvey@buchalter.com
                                5    ncouchot@buchalter.com

                                6    Attorneys for Secured Creditor
                                     ROYAL BUSINESS BANK
                                7

                                8                             UNITED STATES BANKRUPTCY COURT
                                9                              CENTRAL DISTRICT OF CALIFORNIA
                           10                                          LOS ANGELES DIVISION
                           11

                           12        In re                                             Case No. 2:21-bk-16674-ER
                           13        JINZHENG GROUP (USA) LLC,                         Chapter 11
                           14                                       Debtor.            REQUEST FOR JUDICIAL NOTICE
                                                                                       IN SUPPORT OF ROYAL BUSINESS
                           15                                                          BANK’S MOTION FOR RELIEF FROM
                                                                                       THE AUTOMATIC STAY
                           16
                                                                                       [Notice of Motion and Motion for Relief from
                           17                                                          Automatic Stay, Memorandum of Points &
                                                                                       Authorities, Continuation Declaration of Peter
                           18                                                          Tam concurrently filed]
                           19                                                          Hearing:
                                                                                       Date:        September 6, 2022
                           20                                                          Time:        10:00 AM
                                                                                       Place:       Courtroom 1568
                           21                                                                       United States Bankruptcy Court
                                                                                                    255 East Temple Street
                           22                                                                       Los Angeles, California 90012
                           23                TO THE HONORABLE ERNEST M. ROBLES, UNITED STATES BANKRUPTCY
                           24       JUDGE, THE DEBTOR, AND ALL PARTIES IN INTEREST:
                           25                Royal Business Bank (“Royal”) respectfully requests that this Court take judicial notice
                           26       pursuant to Rule 201 of the Federal Rules of Evidence of the following documents in support of
                           27       Royal’s Motion for Relief from the Automatic Stay under 11 U.S.C. § 362 concurrently filed in the
                           28
     B UC HALTER                     BN 70398372v4                                    1
A PROFES SION AL CORPORAT ION
        LOS ANG ELES                                    REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ROYAL BUSINESS BANK’S
                                                                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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                                1   above-captioned chapter 11 bankruptcy case of Jinzheng Group (USA) LLC (the “Debtor”) as

                                2   follows:

                                3           1.       The Application to Employ Jay Wu as Real Estate Agent for Debtor in
                                                     Possession filed by the Debtor on January 24, 2022 as Docket No. 91 in the
                                4                    above-captioned bankruptcy case, a true and complete copy of which was
                                                     obtained from this Court’s website located at http://ecf.cacb.uscourts.gov/
                                5
                                                     is attached hereto as Exhibit 1.
                                6
                                            2.       The Order Granting Application by Debtor-in-Possession to Employ
                                7                    Jay Wu as Real Estate Agent for Estate entered on February 22, 2022 by
                                                     this Court as Docket No. 124 in the above-captioned bankruptcy case, a true
                                8                    and complete copy of which was obtained from this Court’s website located
                                                     at http://ecf.cacb.uscourts.gov/ is attached hereto as Exhibit 2.
                                9
                                            3.       The Debtor’s Combined Plan of Reorganization and Disclosure
                           10                        Statement Dated May 4, 2022 filed by the Debtor on May 4, 2022 as
                                                     Docket No. 204 in the above-captioned bankruptcy case, a true and
                           11                        complete copy of which was obtained from this Court’s website located at
                           12                        http://ecf.cacb.uscourts.gov/ is attached hereto as Exhibit 3.

                           13               4.       The Stipulation to Continue Hearing on Motion for Order Approving
                                                     Debtor’s Combined Plan of Reorganization and Disclosure Statement
                           14                        Dated May 4, 2022 filed by Official Committee of Unsecured Creditors as
                                                     Docket No. 235 in the above-captioned bankruptcy case, a true and
                           15                        complete copy of which obtained from this Court’s website located at
                                                     http://ecf.cacb.uscourts.gov/ is attached hereto as Exhibit 4.
                           16
                                            5.       The Stipulation to (1) Withdraw Debtor’s Combined Plan of
                           17                        Reorganization and Disclosure Statement without Prejudice and (2)
                           18                        Withdraw Official Committee of Unsecured Creditors’ Motion for
                                                     Appointment of a Chapter 11 Trustee without Prejudice filed by the
                           19                        Debtor on June 16, 2022 as Docket No. 250 in the above-captioned
                                                     bankruptcy case, a true and complete copy of which obtained from this
                           20                        Court’s website located at http://ecf.cacb.uscourts.gov/ is attached hereto as
                                                     Exhibit 5.
                           21
                                            6.       The Order Approving Stipulation to (1) Withdraw Debtor’s Combined
                           22                        Plan of Reorganization and Disclosure Statement without Prejudice
                                                     and (2) Withdraw Official Committee of Unsecured Creditors’ Motion
                           23
                                                     for Appointment of a Chapter 11 Trustee without Prejudice entered on
                           24                        June 17, 2022 by the Court as Docket No. 253 in the above-captioned
                                                     bankruptcy case, a true and complete copy of which obtained from this
                           25                        Court’s website located at http://ecf.cacb.uscourts.gov/ is attached hereto as
                                                     Exhibit 6.
                           26
                                            7.       The Debtor’s Notice of Application and Application to Employ Re/Max
                           27                        of Cerritos and Coldwell Banker as Real Estate Brokers and to Enter
                                                     into an Exclusive Listing Agreement filed by the Debtor on July 15, 2022
                           28
     B UC HALTER                     BN 70398372v4                                      2
A PROFES SION AL CORPORAT ION
        LOS ANG ELES                                     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ROYAL BUSINESS BANK’S
                                                                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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                                1                    as Docket No. 307 in the above-captioned bankruptcy case, a true and
                                                     complete copy of which obtained from this Court’s website located at
                                2                    http://ecf.cacb.uscourts.gov/ is attached hereto as Exhibit 7.
                                3           8.       The Notice of Motion and Motion for Relief from the Automatic Stay
                                                     filed by Corona Capital Group LLC on July 20, 2022 as Docket No. 320 in
                                4
                                                     the above-captioned bankruptcy case, a true and complete copy of which
                                5                    obtained from this Court’s website located at http://ecf.cacb.uscourts.gov/
                                                     is attached hereto as Exhibit 8.
                                6
                                            The above-referenced documents are properly the subject of judicial notice pursuant to
                                7
                                    Federal Rule of Evidence 201, which provides that a court may take judicial notice of facts “not
                                8
                                    subject to reasonable dispute in that it is . . . capable of accurate and ready determination by resort
                                9
                                    to sources whose accuracy cannot reasonably be questioned.” Further, it is generally accepted that
                           10
                                    a bankruptcy judge may take judicial notice of the bankruptcy court’s records. “It is not error . . .
                           11
                                    for a court to take judicial notice of related proceedings and records in cases before that court.”
                           12
                                    State of Florida v. Charley Toppino & Sons, Inc., 514 F.2d 700, 704 (5th Cir. 1975); see also In re
                           13
                                    Earl, 140 B.R. 728, 730 (Bankr. N.D. Ind. 1992) (finding that judicial notice of four related
                           14
                                    bankruptcy cases of Debtor was proper).
                           15
                                            Additionally, “[a]court may take judicial notice of a document filed in another court ‘not
                           16
                                    for the truth of the matters asserted in the other litigation, but rather to establish the fact of such
                           17
                                    litigation and related filings.’” Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991)
                           18
                                    (citing United States ex rel. Geisler v. Walters, 510 F.2d 887, 890 n. 4 (3d Cir. 1975)). Therefore,
                           19
                                    Royal respectfully requests that this Court take judicial notice of the documents attached hereto as
                           20
                                    Exhibits 1 through 8.
                           21

                           22
                                     Dated: August 10, 2022                          BUCHALTER, a Professional Corporation
                           23
                                                                                     By:         /s/ Nicholas S. Couchot
                           24
                                                                                           NICHOLAS S. COUCHOT
                           25
                                                                                           Attorneys for Secured Creditor
                           26                                                              ROYAL BUSINESS BANK

                           27

                           28
     B UC HALTER                     BN 70398372v4                                     3
A PROFES SION AL CORPORAT ION
        LOS ANG ELES                                     REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF ROYAL BUSINESS BANK’S
                                                                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY
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                         EXHIBIT 1

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  1   Gene H. Shioda – SBN 186780
      ghs@slclawoffice.com
  2   Christopher J. Langley – SBN 258851
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  3
      Steven P. Chang – SBN 221783
  4   schang@slclawoffice.com
      SHIODA, LANGLEY & CHANG LLP
  5   1063 E. Las Tunas Dr.
      San Gabriel, CA 91776
  6   Tel: (626)281-1232
      Fax: (626)281-2919
  7

  8   Proposed Counsel for Jinzheng Group (USA) LLC
      Debtor and Debtor-in-Possession
  9

 10                             UNITED STATES BANKRUPTCY COURT

 11              CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 12

 13    In re                                                Case No. 2:21-bk-16674-ER

 14                                                         Chapter 11
       JINZHENG GROUP (USA) LLC
 15                                                         APPLICATION TO EMPLOY JAY WU AS
 16                                                         REAL ESTATE AGENT FOR DEBTOR IN
                   Debtor and Debtor in Possession.         POSSESSION; DECLARATIONS OF JAY
 17                                                         WU AND SHAO XING MAX YANG IN
                                                            SUPPORT THEREOF
 18
                                                            Hearing Upon Request Per Local Bankruptcy
 19                                                         Rule 2014-1
 20
 21
               TO THE HONORABLE ERNEST ROBLES, U.S. BANKRUPTCY JUDGE,
 22
      OFFICE OF THE U.S. TRUSTEE, AND ALL PARTIES IN INTEREST:
 23

 24            Jinzheng Group (USA) LLC (“Debtor”), the chapter 11 debtor in possession in the above-

 25   captioned case, hereby submits this application (“Application”) to employ Jay Wu (“Mr. Wu” or

 26   “Agent”) as the Debtor’s real estate agent to assist the Debtor in the listing, marketing and

 27   negotiating a sale of the bankruptcy estate’s interests in the real property identified below. This

 28   Application is supported by the attached declarations of Jay Wu (“Wu Declaration”) and Shao


                                                        1
                                                                                     Exhibit 1, Page 5
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  1   Xing Max Yang (“Yang Declaration”). In support of this Application, the Debtor respectfully
  2   represents as follows:
  3           I.       BACKGROUND INFORMATION
  4           Debtor is a single member LLC that is wholly owned by Jiaqing Yang (“J. Yang”) who

  5   currently resides in China and has not been to the United States since the global outbreak of
  6   Covid-19. Shao Xing Max Yang (“M. Yang”) is the attorney-in-fact for J. Yang. While they

  7   share the same surname, J. Yang and M. Yang are not related.

  8           Debtor owns the real property located at 2240 Lorain, San Marino, CA (“San Marino
  9   Property”). A table summarizing the liens against the San Marino Property is below:
           2240 Lorain, San Marino, CA                       Sch AB 55.6         $3,000,000
 10
                 Less Liens
 11                   Royal Business Bank                      Sch D 2.2         $1,100,000
                      Corona Capital                           Sch D 2.3           $540,000
 12                   DNQ                                      Sch D 2.4           $420,000
 13
                    Net Equity                                                            $940,000
 14
              II.      SERVICE TO BE PERFORMED
 15
              To market the San Marino Property for sale in the most effective manner, the Debtor has
 16
      solicited the assistance of Mr. Wu, which is a California licensed real estate agent (DRE
 17
      01761071). Mr. Wu will oversee the listing and marketing of the San Marino Property for sale.
 18
      Mr. Wu has over 15 years of experience in the real estate industry. He is dynamic, energetic,
 19
      and highly experienced in both residential and commercial property management with solid
 20
      history of success in leasing analysis, project coordination, tenant retention through renewals,
 21
      and assistance in account collections. A copy of the Mr. Wu’s resume is attached to the Wu
 22
      Declaration as Exhibit 1.
 23
              Mr. Wu, on the Debtor’s behalf, has examined the San Marino Property and has agreed
 24
      to advertise it at its expense, to show it to interested parties, to represent the Debtor as seller in
 25
      connection with the sale of the San Marino Property, and to advise the Debtor with respect to
 26
      obtaining the highest and best offer available in the present market. A copy of the Listing
 27
      Agreement and related addenda for the San Marino Property is attached to the Wu Declaration
 28
      as Exhibit 2. The San Marino Property will be listed for sale at $2,450,000.00

                                                          2
                                                                                        Exhibit 1, Page 6
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  1          III.      COMPENSATION PROCEDURE
  2          In consideration for Mr. Wu’s services, subject to further application and court order, Mr.

  3   Wu will receive, upon consummation of sale of the San Marino Property, a sales commission as
  4   follows:

  5                 If another real estate broker or agent (other than Mr. Wu) represents the purchaser of
  6                 the San Marino Property (a “Buyer Agent”), the commission will be four percent

  7                 (4%) of the total purchase price to be split as follows: (i) one and a half percent

  8                 (1.5%) to Mr. Wu, and (ii) two and a half percent (2.5%) to the Buyer Agent.
  9                 If Mr. Wu jointly represents the purchaser of the San Marino Property (as well as the

 10                 Debtor), the commission will be three percent (3%) of the total purchase price
 11                 payable to Mr. Wu.

 12          Mr. Wu has been informed and understands that no sale of the San Marino Property may

 13   be consummated until after (1) notice to creditors with the opportunity for a hearing on the
 14   proposed sale, and (2) entry of a Court order approving the sale.

 15          Mr. Wu has agreed to be compensated subject to the provisions of 11 U.S.C. § 328. Mr.
 16   Wu is aware of the provisions of § 328(a) and has agreed, notwithstanding the terms and

 17   conditions of employment herein, that the Court may allow compensation different from the
 18   compensation provided herein if such terms and conditions prove to have been improvident in

 19   light of developments unanticipated at the time of the fixing of such terms and conditions.

 20          IV.       THE BROKER IS DISINTERESTED
 21          To the best of Mr. Wu’s knowledge after full investigation, and as set forth in the Wu

 22   Declaration, Mr. Wu is a “disinterested person” within the meaning of 11 U.S.C. § 101(14).
 23          Mr. Wu is not a creditor or an equity security holder of the Debtor. Likewise, Mr. Wu is

 24   not an insider of the Debtor because he is not a director, officer, or person in control of the

 25   Debtor. And Mr. Wu is not a relative of a director, officer, or person in control of the Debtor.
 26          That said, Mr. Wu is employed by the real estate brokerage, LT Management Group

 27   (“Broker”) (DRE 02062595). The CEO of the Broker is M. Yang (DRE 02044638) who, as
 28   described above, is the attorney-in-fact for the Debtor’s managing member, J. Yang. Mr. Wu is


                                                           3
                                                                                        Exhibit 1, Page 7
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  1                                     DECLARATION OF JAY WU
  2          I, Jay Wu, am a licensed real estate salesperson with LT Management Group (“Broker”)

  3   and the proposed real estate agent for Jinzheng Group (USA), LLC (“Debtor”), the chapter 11
  4   debtor in possession in this bankruptcy case. I make this declaration in support of the Application

  5   to Employ Jay Wu as Real Estate Agent for Debtor in Possession (“Application”), to which this
  6   declaration is attached. Any capitalized terms not otherwise defined herein have the same

  7   meanings as they do in the Application.

  8          1.      I have read the Application and am familiar with the San Marino Property
  9   described in the Application.

 10          2.      I believe that I am qualified to represent the Debtor in connection with the
 11   marketing of the San Marion Property and negotiating a sale. I have over 15 years of experience

 12   in the real estate industry. I am dynamic, energetic, and highly experienced in both residential and

 13   commercial property management and have a solid history of success in leasing analysis, project
 14   coordination, tenant retention through renewals, and assistance in account collections. A summary

 15   of my credentials is attached hereto as Exhibit 1.
 16          3.      I have been informed and understand that no sale of the Properties may be

 17   consummated until after (1) notice to creditors with the opportunity for a hearing on the proposed
 18   sale, and (2) entry of a court order approving the sale.

 19          4.      I have agreed to accept employment on the terms and conditions set forth in the

 20   Application. I have been informed and understand that no sale of the Properties may be
 21   consummated until after (1) notice to creditors with the opportunity for a hearing on the proposed

 22   sale, and (2) entry of a court order approving the sale. A copy of the Listing Agreement and
 23   related addenda for the San Marino Property is attached hereto as Exhibit 2.

 24          5.      Under the terms of the proposed listing agreement, a real estate commission shall

 25   be paid upon closing of a court-approved sale of either of the Properties. In consideration for my
 26   services, subject to further application and court order, I will receive, upon consummation of sale

 27   of the San Marino Property, a sales commission as follows:
 28


                                                        5
                                                                                     Exhibit 1, Page 9
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  1                            DECLARATION OF SHAO XING MAX YANG
  2          I, Shao Xing Max Yang, am the attorney-in-fact for Jiaqing Yang (“J. Yang”), the

  3   managing member of Jinzheng Group (USA), LLC (“Debtor”), the debtor in possession in the
  4   above captioned bankruptcy case. I make this declaration in support of the Application to Employ

  5   the Jay Wu as Real Estate Agent for Debtor in Possession (“Application”), to which this
  6   declaration is attached. Any capitalized terms not otherwise defined herein have the same

  7   meanings as they do in the Application.

  8          1.      The Debtor commenced this bankruptcy case by filing a voluntary chapter 11
  9   bankruptcy petition on August 24, 2021 (the “Petition Date”). The Debtor continues to manage its
 10   financial affairs as a debtor in possession pursuant to 11 U.S.C. §§ 1107, 1108.
 11          2.      J. Yang is the sole member of the Debtor. I am the attorney-in-fact of J. Yang who
 12   currently resides in China and has not been to the United States since the global outbreak of
 13   Covid-19
 14          3.      Debtor owns the real property located at 2240 Lorain, San Marino, CA (“San
 15   Marino Property”). A table summarizing the liens against the San Marino Property is below:
 16         2240 Lorain, San Marino, CA                        Sch AB 55.6          $3,000,000
                Less Liens
 17                  Royal Business Bank                         Sch D 2.2          $1,100,000
 18                  Corona Capital                              Sch D 2.3            $540,000
                     DNQ                                         Sch D 2.4            $420,000
 19
                  Net Equity                                                          $940,000
 20
             4.      I am informed and believe that Jay Wu (“Mr. Wu”) is experienced in real estate
 21
      transactions and is well qualified in negotiating the sale of the San Marino Property. I believe the
 22
      Debtor’s employment of Mr. Wu as real estate agent is in the best interests of the Debtor’s
 23
      bankruptcy estate.
 24

 25
 26

 27
 28


                                                        7
                                                                                   Exhibit 1, Page 11
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Jay Wu
Leasing & Maintenance Director
jaywu@LTGmanagement.com
626.727.6100
DRE: 01761071




As a Leasing & Maintenance Director, Jay Wu is dynamic, energetic, and highly
experienced in both residential and commercial property management with solid history
of success in leasing analysis, project coordination, tenant retention through renewals,
and assistance in account collections.

Jay is also professional in revamping processes to enhance operation quality and
effectiveness, aligning with the strategic goals and support future growth. Jay also has
talent for cultivating and supporting tenant relationships, leading to high
occupancy rates, minimal turnover, and renewal of long-term leases.

Jay is fluent in English, Mandarin, Spanish, and Taiwanese.

Licensed from: July 2006 till now

Numerous transactions in Leasing, Listing for both residential and commercial

Costar Power Broker Award Q3, 2020

Dominee Costar Power Broker Award Q4 2021




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                               EXHIBIT 2



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  1                                      PROOF OF SERVICE OF DOCUMENT

  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 1063 E. Las Tunas Dr., San Gabriel, CA 91776
  3
      A true and correct copy of the foregoing document entitled (specify): APPLICATION TO EMPLOY JAY WU
  4   AS REAL ESTATE AGENT FOR DEBTOR IN POSSESSION; DECLARATIONS OF JAY WU AND SHAO
      XING MAX YANG IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in
  5   the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  6        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On (date) January 2 , 2022, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  8   List to receive NEF transmission at the email addresses stated below:

  9           Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
              Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
 10           Susan Titus Collins scollins@counsel.lacounty.gov
              Richard Girgado rgirgado@counsel.lacounty.gov
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 12           i rm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
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 13           omar@slclawoffice.com;langleycr75251@notify.bestcase.com
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 17
              an@rhmfirm.com
              Allan D Sarver ADS@asarverlaw.com
 18
              United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 19           Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov

                                                        Service information continued on attached page
 20
           SERVED BY UNITED STATES MAIL:
 21   On (date) January 2 , 2022, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
 22   envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
      here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 23   document is filed.

 24           Hon. Ernest Robles, 255 E. Temple Street, Suite 1560, Los Angeles, CA 90012
              Office of the U.S. Trustee, 915 Wilshire Blvd., Suite 1850, Los Angeles, CA 90017
 25
                                                        Service information continued on attached page
 26

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      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
  1   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) January 2 , 2022, I served the following persons and/or entities by personal delivery, overnight mail
  2   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
  3   mail to, the judge will be completed no later than 24 hours after the document is filed.

  4                                                      Service information continued on attached page

  5   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  6     January 2 , 2022         John Martinez                               /s/John Martinez
        Date                     Printed Name                                Signature
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  2   Christopher J. Langley SBN 258851
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  3
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  5   1063 E. Las Tunas Dr.
      San Gabriel, CA 91776
  6   Tel: (626) 281-1232
      Fax: (626) 281-2919
  7
  8   Counsel for Jinzheng Group (USA) LLC
      Debtor and Debtor-in-Possession
  9
 10                             UNITED STATES BANKRUPTCY COURT

 11              CENTRAL DISTRICT OF CALIFORNIA                  LOS ANGELES DIVISION

 12

 13    In re                                               Case No. 2:21-bk-16674-ER

 14                                                        Chapter 11
       JINZHENG GROUP (USA) LLC
 15                                                        ORDER GRANTING APPLICATION BY
 16                                                        DEBTOR-IN-POSSESSION TO EMPLOY
                   Debtor and Debtor in Possession.        JAY WU AS REAL ESTATE AGENT FOR
 17                                                        ESTATE

 18                                                        [Unopposed Motion No Service of Proposed
                                                           Order of Lodgment Period Required Pursuant
 19                                                        to LBR 9021-1(b)(4)]
 20
 21
               The Court having read and considered the Chapter 11 Debtor and Debtor-in-
 22
      Application to Employ Jay Wu of LT Management Group Estate as the Debtor-in-
 23
      Real Estate Agent (the                 January 24, 2020 as Docket No. 91 and, it appearing that
 24
      proper notice has been given and good cause has been shown, the Court makes its Order as
 25
      follows:
 26
               IT IS ORDERED:
 27
               1. The Application is approved;
 28


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  1          2. The Debtor and Debtor-in-possession is authorized to employ Jay Wu of LT
  2   Management Group Estate                                               , effective January 24,
  3   2022, to market and sell real property located at 2240 Lorain Rd. San Marino, CA 91108, on the
  4   terms and conditions set forth in the Application, with compensation pursuant to § 328;

  5
  6   application and approval of this Court;
  7          IT IS SO ORDERED.
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  5   1063 E. Las Tunas Dr.
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      Fax: (626)281-2919
  7
  8   Counsel for Jinzheng Group (USA) LLC
      Debtor and Debtor-in-Possession
  9
 10                          UNITED STATES BANKRUPTCY COURT

 11            CENTRAL DISTRICT OF CALIFORNIA  LOS ANGELES DIVISION

 12
      In re:                                        Case No. 2:21-bk-16674-ER
 13
 14   JINZHENG GROUP (USA) LLC                      Chapter 11

 15                                                 DEBTORS COMBINED PLAN OF
                                                    REORGANIZATION AND
 16                Debtor in Possession.
                                                    DISCLOSURE STATEMENT DATED
                                                    MAY 4, 2022
 17

 18
                                                    Plan Confirmation Hearing (TBD)
 19
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                                                   i
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          Debtors Combined Plan of Reorganization and Disclosure Statement Dated May 4, 2022
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  1      I.        INTRODUCTION
  2           JINZHENG GROUP (USA), LLC (Debtor) is the debtor in a Chapter 11 bankruptcy

  3   case. The document you are reading is the Debtors Combined Chapter 11 Plan of
  4   Reorganization and Disclosure Statement Dated May 4, 2022 (the Plan). All exhibits to this
  5   Plan are considered part of this Plan but, in the event of any conflict between this Plan and its

  6   exhibits, the terms of this Plan control. The Court has not yet determined whether the Plan is
  7   confirmable and makes no recommendation as to whether or not you should support or oppose the
  8   Plan.
  9           This Plan is a reorganizing plan. In other words, the Debtor seeks to make payments under
 10   the Plan by a new value contribution and new financing as described herein. The Effective Date
 11   of the Plan is14 days after the Bankruptcy Court enters the Order confirming this Plan.

 12           A.        Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing
 13           THE COURT HAS NOT YET CONFIRMED THE PLAN, SO THE TERMS OF THE
 14   PLAN ARE NOT YET BINDING ON ANYONE. HOWEVER, IF THE COURT LATER
 15   CONFIRMS THE PLAN, THEN THE PLAN WILL BE BINDING ON THE DEBTOR AND ON
 16   ALL CREDITORS AND INTEREST HOLDERS IN THIS CASE.
 17                1.      Time and Place of the Confirmation Hearing

 18           The hearing where the Court will determine whether or not to confirm the Plan will take
 19   place on __________________, 2022, in Courtroom 1568, United States Bankruptcy Court, Los
 20   Angeles Division, 255 E. Temple St. Los Angeles, CA 90012.
 21                2.      Deadline for Voting For or Against the Plan
 22           If you are entitled to vote, it is in your best interest to timely vote on the enclosed ballot
 23   and return the ballot in the enclosed envelope to Christopher J. Langley, Esq., SHIODA

 24   LANGLEY & CHANG LLP, 1063 E. Las Tunas Dr., San Gabriel, CA 91776 phone: (626)281-
 25   1232, facsimile (626)281-2919
 26           Your ballot must be received by __________________ or it will not be counted.
 27
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          Debtors Combined Plan of Reorganization and Disclosure Statement Dated May 4, 2022
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  1                 3.      Deadline for Objecting to the Confirmation of the Plan
  2            Objections to the confirmation of the Plan must be filed with the Court and served upon

  3   Christopher J. Langley, Esq., SHIODA LANGLEY & CHANG LLP, 1063 E. Las Tunas Dr., San
  4   Gabriel, CA 91776; Phone: (626) 281-1232; Facsimile (626) 281-2919 by __________________.
  5                 4.      Identity of Person to Contact for More Information Regarding the Plan

  6            Any interested party desiring further information about the Plan should contact Christopher
  7   J. Langley, Esq., SHIODA LANGLEY & CHANG LLP, 1063 E. Las Tunas Dr., San Gabriel, CA
  8   91776; Phone: (626) 281-1232; Facsimile (626) 281-2919.
  9            B.        Disclaimer
 10            The financial data relied upon in formulating the Plan is based on the Debtors books and
 11   records. The information contained in this Disclosure Statement is provided by the Debtor. The

 12   Debtor represents that everything stated in the Plan is true to the Debtors best knowledge. The
 13   Court has not yet determined whether or not the Plan is confirmable and makes no
 14   recommendation as to whether or not you should support or oppose the Plan.
 15      II.        BACKGROUND INFORMATION
 16            A.        Principals and Management of Debtors Business
 17            Debtor is a California limited liability company. Its sole member is Jianqing Yang. Mr.

 18   Yang currently resides in China and has not been to the United States since the global outbreak of
 19   Covid-19.
 20            Before its bankruptcy filing, the Debtor was managed by Betty Zheng. On or about
 21   November 29, 2021, Ms. Zheng resigned as manager. Max Yang, who is Jianqing Yangs
 22   attorney-in-fact, now runs the day-to-day management of the Debtor.
 23            B.        Description and History of Debtors Business

 24            The Debtor is in the business of acquiring and developing real estate. A table summarizing
 25   the Debtors real estate holdings, and the liens thereon, is attached hereto as Exhibit 1. Generally,
 26   the Debtors real estate holdings are classified in four categories.
 27            The Los Angeles Properties refers to over raw land as well as adjacent multi-family
 28   buildings that the Debtor intends to develop into homes in the Lincoln Heights neighborhood of

                                                   2
          Debtors Combined Plan of Reorganization and Disclosure Statement Dated May 4, 2022
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  1   Los Angeles. The Los Angeles Properties include: (i) 2929 Amethyst Street, Los Angeles, CA
  2   (APN 5209-009-001), (ii) 2526-2528 Lincoln Park, Los Angeles, CA (APN 5208-025-001), (iii)

  3   2520-2522 Lincoln Park, Los Angeles, CA (APN 5208-025-002), (iv) 2602 Lincoln Park, Los
  4   Angeles, CA (APN 5208-025-014); and (v) 2600 Sierra Street, Los Angeles, CA (APN 5209-005-
  5   003). The Debtor acquired the Los Angeles Properties from August 2016 to July 2017 with funds

  6   contributed by Mr. Yang and without the need for financing. Pursuant to an appraisal by
  7   Cushman & Wakefield Western, Inc., dated June 22, 2021, the Los Angeles Properties have a
  8   collective as-is value of $23,450,000.00.
  9          As discussed below, the Debtor employed Betula Lenta, Inc. (Betula) as a real estate
 10   consultancy company, to assist it with the development of the Los Angeles Properties. The Debtor
 11   then used the Los Angeles Properties as collateral to obtain loans for developing them into a

 12   residential development. These loan proceeds were then used to pay exorbitant consulting fees to
 13   Betula and other companies without little progress (if any) being made towards the development.
 14   The Los Angeles Properties are encumbered by liens held by (a) the Los Angeles County
 15   Treasurer and Tax Collector, and (b) Royalty Equity Lending, LLC. These secured claims are
 16   treated in Classes 1 and 2, respectively.
 17          The Paradise Drive Lots are 10 parcels of raw land adjacent to 2929 Amethyst Street that

 18   the Debtor intends to develop with the Los Angeles Properties. The Paradise Drive Lots include
 19   APNs (i) 5209-021-002, -005, -006; (ii) 5209-022-007; (iii) 5209-023-022, -029; -030; -031; -032;
 20   and (iv) 5209-025-006. The Paradise Drive Lots are encumbered by liens held by (a) the Los
 21   Angeles County Treasurer and Tax Collector, and (b) Breezeblocks Capital, LLC. These secured
 22   claims are treated in Classes 3 and 4, respectively.
 23          The San Marino Property is a three-bedroom single-family home located at 2240 Lorain,

 24   San Marino, CA. Mr. Yang caused the San Marino Property to be transferred to the Debtor for no
 25   consideration, which the Debtor then used as collateral to obtain loans for the purpose of
 26   developing the Los Angeles Properties and Paradise Drive Lots. The Debtor has employed Jay
 27   Wu to market and sell the San Marino Property. It is currently listed for sale at $2,350,000. The
 28   San Marino Property is encumbered with liens held by (a) Royal Business Bank, (b) Corona

                                                   3
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  1   Capital Group, LLC, and (c) DNQ LLC. These secured claims are treated in Classes 5, 6, and 7,
  2   respectively.

  3          The Van Nuys Property is a four-bedroom condominium located at 6840 De Celis Place,
  4   Apartment 9, Van Nuys, CA 91406. Mr. Yang caused the Van Nuys Property to be transferred to
  5   the Debtor for no consideration, which the Debtor then used as collateral to obtain loans for the

  6   purpose of developing the Los Angeles Properties and Paradise Drive Lots. The Debtor intends to
  7   either sell or refinance the Van Nuys Property. The Van Nuys Property is encumbered with liens
  8   held by (a) the Los Angeles County Treasurer and Tax Collector, (b) Investment Management
  9   Company, and (c) Michael and Shari Dorff. These secured claims are treated in Class 8, 9, and
 10   10, respectively.
 11          C.       Events Leading to Debtors Chapter 11 Filing

 12          Beginning in December 2017, Ms. Zheng caused the Debtor to contract with Betula Lenta,
 13   Inc. (Betula), a real estate consultancy company, to assist it with the development of the Los
 14   Angeles Properties. Betula describes itself as a team of the best real estate consultants providing
 15   solutions for real estate investors looking for opportunities to invest in development or investors
 16   for their developments. https://www.betulalenta.com/about-us. Betula was directed by Jonathan
 17   Pae and David Park.

 18          Ultimately, Debtor and Betula entered into three contracts (collectively, the Betula
 19   Agreements):
 20                   A Predevelopment Consulting Agreement dated December 7, 2017, in which the
 21                   Debtor agreed to pay Betula $2,594,000 for consulting services.
 22                   A Construction Management Agreement dated June 22, 2018, in which the
 23                   Debtor agreed to pay Betula an additional $4,517,913.00 for phase 2 services.

 24                   A CFD Bonds Procurement  CM  Development Agreement dated March 13,
 25                   2019, in which the Debtor agreed to pay Betula an additional $6,224,490.00 for
 26                   construction services.
 27          While the Betula Agreements totaled over $13,336,903.00 and much of the fees were paid,
 28   the Los Angeles Properties remain unentitled and undeveloped. Debtors payment of these

                                                   4
          Debtors Combined Plan of Reorganization and Disclosure Statement Dated May 4, 2022
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  1   consulting fees precluded it from timely paying its secured debt obligations, which eventually
  2   resulted in Royalty Equity Lending, LLC noticing a non-judicial trustee sale of the Los Angeles

  3   Properties for August 24, 2021.
  4          D.        Significant Events During the Bankruptcy Case
  5               1.      The Debtors Bankruptcy Filing

  6          On August 24, 2021 (Petition Date), the Debtor filed an emergency voluntary Chapter 11
  7   petition, initiating this Bankruptcy Case. Debtor was represented at the time by the Law Offices
  8   of Donna Bullock (Bullock). And Debtor was managed, at least nominally, by Michael Carlin
  9   as Chief Restructuring Officer.
 10          Little ostensible progress, if any, was made towards Debtors reorganization during Ms.
 11   Bullocks representation and Mr. Carlins management. Neither Ms. Bullock nor Mr. Carlin

 12   sought court approval of their employment.
 13               2.      The Debtor Employs Shioda Langley & Chang LLP as General Counsel
 14          On December 6, 2021, the Debtor filed a substitution of counsel to name Shioda, Langley
 15   & Chang LLP (SLC) as its general bankruptcy counsel. That same day, the Debtor filed an
 16   Application to Employ Shioda Langley & Chang LLP as General Insolvency Counsel [Doc. 49].
 17   No opposition was timely filed. And on January 18, 2022, the Court entered an order approving

 18   same [Doc. 81].
 19               3.      The Claims Bar Date and Claims Filed Against Bankruptcy Estate
 20          On December 7, 2021, the Court entered an Order Setting Bar Date for Filing Proofs of
 21   Claim [Doc. 55], which set the claims bar date for February 4, 2022 (Claims Bar Date).
 22          On December 9, 2021, the Debtor served a Notice of Bar Date for Filing Proofs of Claim
 23   [Doc. 56] on all creditors. So far, twenty-one (21) proofs of claims have been filed against the

 24   Debtors bankruptcy estate. A table summarizing the claims against Debtors bankruptcy estate is
 25   attached hereto as Exhibit 2.
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  1              4.     The Debtor Files Motions for 2004 Examinations of Mr. Carlin, Mr. Pae,
  2                     and Mr. Park

  3          In December 2021, the Debtor filed separate motions to conduct examinations of Mr.
  4   Carlin, Mr. Pae, and Mr. Park pursuant to Rule 2004 of the Federal Rules of Bankruptcy
  5   Procedure [Docs. 57, 68, 69], which the Court granted by written orders [Docs. 60, 72, 73].

  6              5.     The Court Extends the Debtors Exclusivity Period to File Plan and Solicit
  7                     Acceptances
  8          On December 13, 2021, the Debtor filed a Motion for Order Extending Debtors
  9   Exclusivity Period to File Chapter 11 Plan and Solicit Acceptances Thereto [Doc. 61]
 10   (Exclusivity Motion). Royalty Equity Lending opposed. The Court granted the Exclusivity
 11   Motion pursuant to an Order entered on January 18, 2022 [Doc. 80] (Exclusivity Order).

 12          Pursuant to the Exclusivity Order, the exclusivity periods for Debtor to file a plan was
 13   extended to April 21, 2020, and to solicit acceptances of its Plan was extended to May 20, 2022.
 14              6.     The Debtor Employs Jay Wu as Real Estate Agent to Sell San Marino
 15                     Property
 16          On January 24, 2022, the Debtor filed an Application to Employ Jay Wu as Real Estate
 17   Agent [Doc. 91] (Real Estate Agent Application). In it, the Debtor sought to employ Jay Wu as

 18   real estate agent to market and sell the San Marino Property. No opposition was filed.
 19          On February 22, 2022, the Court entered an order approving the Broker Application and
 20   Debtors employment of Mr. Wu to sell the San Marino Property [Doc. 124] (Real Estate Agent
 21   Order).
 22              7.     The U.S. Trustee Appoints the Committee Which Seeks to Employ
 23                     Pachulski Stang Ziehl & Jones LLP as General Counsel

 24          On January 25, 2022, the United States Trustee filed a Notice of Appointment and
 25   Appointment of Committee of Creditors Holding Unsecured Claims [Doc. 93], which named
 26   Betula, Pennington Construction Advisors, Inc. (Pennington), and The Phalanx Group Inc.
 27   (Phalanx) as committee members.
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  1          On February 8, 2022, the Committee filed an Application for Order Authorizing and
  2   Approving Employment of Pachulski Stang Ziehl & Jones LLP as Counsel to the Official
  3   Committee of Unsecured Creditors, Effective as of January 25, 2022 [Doc. 98] (Committee
  4   Counsel Employment Application). The Committee seeks to employ Pachulski Stang Ziehl &
  5   Jones LLP (PSZJ) at hourly rates more than double those charged to the Debtor by SLC.

  6          On February 22, 2022, the Debtor filed an objection to the Committee Counsel
  7   Employment Application. A hearing on the Committee Counsel Employment Application is
  8   currently scheduled for         , 2022 at 10:00 a.m.
  9              8.      The Debtor Moves for Return of Legal Retainer From Ms. Bullock
 10          On February 2, 2022, the Debtor filed a Motion to Determine Compensation Paid to
 11   Counsel Was Excessive Under 11 U.S.C. § 329 and FRBP 2017 [Doc. 96] (Disgorgement

 12   Motion), which requested the Court order Ms. Bullock to return all compensation paid to her by

 13   or on behalf of the Debtor because she was never employed as a professional under 11 U.S.C. §
 14   327. Ms. Bullock opposed. A hearing was held on February 23, 2022, during which the Court
 15   granted in part and denied in part the Disgorgement Motion.
 16          On February 28, 2022, the Court entered an Order Granting Disgorgement Motion [Doc.
 17   134] (Disgorgement Order), which ordered Ms. Bullock to return to Debtor all payments

 18   received in excess of $6,268 (the Disgorged Funds). The Disgorged Funds shall be maintained

 19   in the attorney-client trust account of the Debtors current counsel, SLC, and shall not be

 20   disbursed absent further order of the Court. Bullock shall transfer the Disgorged Funds to SLCs
 21   attorney-client trust account within fourteen days of the date of issuance of this Order. The
 22   Disgorgement Order further provided that it was without prejudice to Ms. Bullocks ability to file
 23   an application seeking authorization to be retained as the Debtors general bankruptcy counsel

 24   nunc pro tunc. To date, Ms. Bullock has not filed such an application.
 25              9.      The Debtor Objects to Proofs of Claim
 26          In February 2022, the Debtor filed objections to several proofs of claim, including (i)
 27   Claims 9 and 10 filed by Mr. Carlin [Doc. 116], (ii) Claim 13 filed by Fry & Associates [Doc.
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  1   110], (iii) Claim 17 filed by Phalanx [Doc. 113], (iv) Claim 18 filed by Betula [Doc. 120], and (v)
  2   Claim 20 filed by Pennington [Doc. 107].

  3          Hearings on these claim objections are currently scheduled for            , 2022. The Debtor
  4   intends to file objections to additional proofs of claim in due course. The Debtor reserves all
  5   rights to object to further proofs of claim.

  6               10.        The Debtor Files State Court Actions Against Insiders and Real Estate
  7                          Brokers
  8          During this Bankruptcy Case, the Debtor has filed two separate lawsuits against parties
  9   responsible for its financial problems that necessitated the Debtors bankruptcy filing.
 10                     a.      The Betula Action, Los Angeles Superior Court, Case 22STCV04623
 11          On February 7, 2022, the Debtor filed a complaint against two sets of defendants (i) Mr.

 12   Pae, Mr. Park, and Betula (the Betula Parties), and (ii) Ms. Zheng and her real estate company,
 13   CBW Global, Inc. (the Zheng Parties), with the Superior Court of California, County of Los
 14   Angeles, initiating Jinzheng Group (USA), LLC v. Pae et al, Case No. 22STCV04623 (Betula
 15   Action).
 16          In the Betula Action, the Debtor that Ms. Zheng, Mr. Pae, and Mr. Park conspired to
 17   charge it over $12 million in false service fees pursuant to the Betula Agreements described above.

 18   The Debtor pleads causes of action for (i) breach of contract against the Betula Parties, (ii)
 19   intentional misrepresentation against the Betula and Zheng Parties, (iii) negligent
 20   misrepresentation against the Betula and Zheng Parties, (iv) negligence against the Betula and
 21   Zheng Parties, (v) breach of fiduciary duty against the Zheng Parties, (vi) aiding and abetting
 22   against the Betula and Zheng Parties, an (vii) unfair business practices against the Betula and
 23   Zheng Parties. The Debtor seeks general damages exceeding $5,000,000, plus special damages,

 24   punitive damages, and attorneys fees and costs.
 25                     b.      The Broker Action, Los Angeles Superior Court, Case 22AHCV00093
 26          On February 23, 2022, the Debtor filed a complaint against three sets of the defendants (i)
 27   Testa Capital Group and Thomas L. Testa (Testa Parties), (ii) Homes Loans Unlimited, Inc.,
 28   Daniel Triana, James Shields, and Shawn Sourgose (HLU Parties), and (ii) Betty Zheng and

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  1   CBW Global, Inc. (Zheng Parties), with the Superior Court of California, County of Los
  2   Angeles, initiating Jinzheng Group (USA), LLC v. Testa Capital Group, et al., Case No.

  3   22AHCV00093 (Broker Action).
  4            In the Broker Action, the Debtor alleges that Ms. Zheng had a scheme to defraud and harm
  5   the Debtor by arranging for unscrupulous lenders to lend or otherwise negotiate loans for the

  6   Debtor while charging the Debtor unconscionable rates and fees for their loan services.
  7   Specifically, in October 2020, the Debtors loan with BOBS, LLC (predecessor in interest to
  8   Royalty Equity Lending) had matured. The Debtor was introduced to the Testa Parties and HLU
  9   Parties (collectively, the Broker Parties) to obtain a new loan or in the alternative to obtain a
 10   new loan for the Debtor. However, the Broker Parties failed to actually provide any services or
 11   shop for new loans for the Debtor. The Broker Parties ultimately obtained a 3-month extension

 12   for the Debtor and were compensated 2% of the total combined gross loan amount funded by
 13   lender or minimum of $287,000.00 whichever is higher. In addition, each of the three brokers
 14   (Testa, HLU, and Sourgouse) would receive a $500,000.00 fee when the loan is paid off. There is
 15   no explanation or justification why three loan brokers were needed for this project and why three
 16   separate fees were necessary. There is absolutely no evidence of any effort by any of the Broker
 17   Parties to attempt to obtain a favorable terms either through a new lender or in good faith

 18   negotiated with the existing lender for the extension or reduction in terms. As a result of these
 19   payments, the Debtor has suffered great economic loss.
 20            The Debtor pleads causes of action for (i) breach of fiduciary duties against all defendants,
 21   (ii) intentional misrepresentation against all defendants, (iii) negligent misrepresentation against
 22   all defendants, (iv) negligence against all defendants, (v) aiding and abetting against all
 23   defendants, (vi) unfair business practices against all defendants. The Debtor seeks general

 24   damages exceeding $5,000,000, plus special damages, punitive damages, and attorneys fees and
 25   costs.
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  1              11.       Royalty Equity Lending Moves for Relief from Stay Against the Los
  2                        Angeles Properties

  3          On February 24, 2022, Royalty Equity Lending filed a Motion for Relief for the Automatic
  4   Stay Under 11 U.S.C. § 362 [Doc. 127] (Royalty Equity Lending MRS), which seeks relief from
  5   stay to foreclose against the Los Angeles Properties. Royalty Equity Lending seeks relief under

  6   11 U.S.C. § 362(d)(1) and (2). The Royalty Equity Lending MRS values the Los Angeles
  7   Properties in the amount of $9,335,000.00, which is approximately 40% of the appraised value
  8   according to Cushman & Wakefield, Inc. in June 2021 ($23,450,000.00). Royalty Equity Lending
  9   argues that its interest in the Los Angeles Properties is under-secured. A hearing on the Royalty
 10   Equity Lending MRS is currently scheduled for March 21, 2022, at 10:00 a.m.
 11          For the purposes of this Plan, the Debtor has used Royalty Equity Lendings valuation of

 12   the Los Angeles Properties for determining the secured status of its claim against the Debtors
 13   bankruptcy estate.
 14              12.       The Debtor Moves to Change Membership of the Committee and Disband
 15                        the Committee
 16          On March 1, 2022, the Debtor filed a Motion to Change Membership and Disband Official
 17   Committee of Unsecured Creditors Pursuant to 11 U.S.C. § 1102(a) [Doc. 135] (Committee

 18   Membership Motion). In it, the Debtor argued Betula, Pennington, and Phalanx cannot

 19   adequately represent the interests of unsecured creditors because (i) Betula is an insider with an
 20   actual and unavoidable conflict of interest as it is currently being sued by Debtor in the Betula
 21   Action, (ii) Pennington is a creditor of Betulanot Debtor, and (iii) Phalanx admits it was not
 22   licensed to perform the services contracted for and, to date, has failed to provide any explanation
 23   or documentation for the services it allegedly provided Debtor. The Debtor further argued that the

 24   Committee should be disbanded because there is no need for its services as Debtor would be

 25   proposing a plan that will pay allowed general unsecured claims in full.

 26          A hearing on the Committee Membership Motion is currently scheduled for                , 2022,
 27   at 10:00 a.m.
 28

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  1              13.     The Committee Moves for Appointment of Chapter 11 Trustee or, In the
  2                      Alternative, Termination of Exclusivity Order and Authorizing Standing

  3                      to Prosecute Insider Actions
  4          Also, on March 1, 2022, the Committee filed a Motion for (I) the Appointment of a
  5   Chapter 11 Trustee, or In the Alternative, (II) (A) Termination of Plan and Solicitation

  6   Exclusivities and (B) Authorizing Standing for the Committee to Prosecute Actions Against
  7   Insiders of the Debtor [Doc. 135] (Trustee Motion). In it, the Committee alleged that the Debtor
  8   was proceeding in bad faith by challenging the unsecured claims asserted against its bankruptcy
  9   estate and protecting insiders.
 10          A hearing on the Trustee Motion is currently scheduled for           , 2022, at 10:00 a.m.
 11              14.     The Debtors Investigation of Fraudulent Transfer Claims Involving 150

 12                      East La Sierra Drive, Arcadia, CA

 13          The Debtor is investigating a potential claim against 150 Sierra LLC for recovery of the

 14   property commonly known as 150 East La Sierra Drive, Arcadia, CA 91006, which was transfer

 15   by the Debtor to 150 Sierra LLC for no consideration on January 23, 2020. 150 Sierra LLC is a
 16   California limited liability company owned jointly by the Debtor and The Code Solutions LLC (an
 17   entity related to Betula Lenta LLC).

 18              15.     The Debtors Renewed Efforts to Entitle the Los Angeles Properties and

 19                      Paradise Drive Lots
 20          Debtor believes that its pre-petition financial problems arose from its relationship with
 21   Betula. Debtor is in the process of interviewing firms that have the necessary expertise to obtain
 22   the entitlements. These firms have represented to Debtor that this is a 20-month process that will
 23   cost approximately $800,000. Debtor believes that obtaining the necessary entitlements to

 24   develop the Los Angeles Properties and Paradise Drive Lots will result in substantial appreciation.
 25   In the June 2021 appraisal conducted by Cushman & Wakefield, the firm appraised the
 26   hypothetical value of the properties, as entitled for 70 lots, at $38,200,000.00. Upon obtaining the
 27   necessary entitlements, Debtor will be able to either sell or refinance the Los Angeles Properties
 28   and Paradise Drive Lots, and pay all allowed claims in full from the proceeds.

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  1      III.        THE PLAN OF REORGANIZATION
  2             A.        What Creditors and Interest Holders Will Receive Under the Proposed Plan

  3             As required by the Bankruptcy Code, the Plan classifies claims and interests in various
  4   classes according to their right to priority. The Plan states whether each class of claims or
  5   interests is impaired or unimpaired. The Plan provides the treatment each class will receive.

  6             B.        Unclassified Claims
  7             Certain types of claims are not placed into voting classes; instead, they are unclassified.
  8   They are not considered impaired, and they do not vote on the Plan because they are automatically
  9   entitled to specific treatment provided for them in the Bankruptcy Code. As such, the Debtor has
 10   not placed the following claims in a class.
 11                  1.      Administrative Expenses

 12             Administrative expenses are claims for costs or expenses of administering the Debtors
 13   Chapter 11 case which are allowed under 11 U.S.C. § 507(a)(2). The Code requires that all
 14   administrative claims be paid on the Effective Date of the Plan, unless a particular claimant agrees
 15   to a different treatment.
 16         The following chart lists all of the Debtors § 507(a)(2) administrative claims and their
 17   treatment under the Plan:

 18
                             Name                         Amount Owed                     Treatment
 19                                                                               Paid in full upon the
         Shioda Langley & Chang LLP                      $150,000.00 (est.)       latter of (i) the Effective
 20
         Pachulski Stang Ziehl & Jones LLP               $125,000.00 (est.)       Date, or (ii) within three
 21                                                                               business days after entry
         Michael Carlin                                        $0.00              of a final, nonappealable
 22                                                                               order of the Bankruptcy
         Donna Bullock                                         $0.00              Court allowing the claim.
 23
         Clerks Office Fees                                   $0.00              Reorganized Debtor shall
 24
                                                                                  set aside the estimated
 25                                                                               amount of administrative
                                                                                  claims to ensure payment
 26      Office of the U.S. Trustee Fees                       $0.00              in full of all allowed
                                                                                  administrative expense
 27                                                                               claims pursuant to this
 28                                                                               Plan.

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  1          Court Approval of Fees Required:
  2          The Court must rule on all fees listed in this chart before the fees will be owed. For all fees

  3   except Clerks Office fees and U.S. Trustees fees, the professional in question must file and serve
  4   a properly noticed fee application and the Court must rule on the application. Only the amount of
  5   fees allowed by the Court will be owed and required to be paid under this Plan. The Debtor

  6   reserves all rights to challenge and object to any administrative claims.
  7              2.      Priority Tax Claims
  8          Priority tax claims are certain unsecured income, employment and other taxes described by
  9   11 U.S.C. § 507(a)(8). The Code requires that each holder of such a claim receive the present
 10   value of such claim in deferred cash payments, over a period not exceeding six years from the date
 11   of the assessment of such tax. The following chart lists all § 507(a)(8) priority tax claims against

 12   the Debtors bankruptcy estate and their treatment under the Plan:
 13                           Description                                         Treatment
 14
         Claimant:              Internal Revenue Service
 15                                                               Paid in full within 120 days of the
         Type:                  Estimated FICA withholdings       Effective Date
 16
         Amount:                $28,700.70
 17

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  1          C.         Classified Claims and Interests
  2               1.        Classes of Secured Claims

  3          Secured claims are claims secured by liens on property of the estate. The following chart
  4   lists all classes containing Debtors secured pre-petition claims and their treatment under this Plan.
  5       Class                      Description                               Treatment
  6
                       Claimant:            LA County
  7                                         Treasurer and Tax
                                            Collector            Impaired: NO
  8
                       Collateral:          Los Angeles          Treatment: The Plan leaves unaltered
  9
            1                               Properties           the legal, equitable, and contractual
 10                                                              rights of the LA County Treasurer
                       Collateral Value:    $9,335,000.00        and Tax Collector. The Debtor will
 11                    Lien Priority:       1st                  continue to make all payments to LA
                                                                 County Treasurer and Tax Collector
 12                    Claim Amount:     $0.00                   pursuant to applicable law.
 13                    Secured Amount:   $0.00
                       Unsecured Amount: $0.00
 14
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  1      Class                 Description                             Treatment

  2                                                      Impaired: YES
                 Claimant:            Royalty Equity
                                      Lending, LLC       Treatment: The Class 2 Claim shall
  3
                                                         be bifurcated into: (a) an Allowed
  4              Collateral:          Los Angeles        Secured Claim in the amount of
                                      Properties         $9,335,000.00, and (b) an Allowed
  5        2                                             General Unsecured Claim in the
                 Collateral Value:    $9,335,000.00      amount of $18,009.29.
  6              Lien Priority:       2nd
  7                                                      Royalty Equity Lending, LLC shall
                 Claim Amount:     $9,353,009.29         retain the first priority liens against
  8              Secured Amount:   $9,335,000.00         the Los Angeles Properties.
                 Unsecured Amount: $18,009.29
  9                                                      Beginning of the first day of the first
                                                         month after the Effective Date, the
 10
                                                         Reorganized Debtor shall remit to
 11                                                      Royalty Equity Lending LLC
                                                         monthly payments ($71,788.07) as
 12                                                      calculated over a 30-year fully
                                                         amortized term at 8.5% interest per
 13                                                      annum.
 14                                                      Within 3 years of the Effective Date,
 15                                                      the Reorganized Debtor shall make a
                                                         balloon payment for the total amount
 16                                                      outstanding ($9,104,028.35).

 17                                                      The total payout on the Class 2 Claim
                                                         will be $11,616,610.80.
 18
                                                         The Allowed General Unsecured
 19
                                                         Claim will receive treatment pursuant
 20                                                      to Class 11A.

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  1      Class                 Description                             Treatment

  2              Claimant:            LA County
                                      Treasurer and Tax
  3
                                      Collector
                                                          Impaired: NO
  4
                 Collateral:          Paradise Drive      Treatment: The Plan leaves unaltered
  5        3                          Lots                the legal, equitable, and contractual
  6                                                       rights of the LA County Treasurer and
                 Collateral Value:    $266,600.00         Tax Collector. The Debtor will
  7              Lien Priority:       1st                 continue to make all payments to LA
                                                          County Treasurer and Tax Collector
  8                                                       pursuant to applicable law.
                 Claim Amount:     $0.00
  9              Secured Amount:   $0.00
                 Unsecured Amount: $0.00
 10
 11
                 Claimant:            Breezeblocks
                                                          Impaired: YES
 12                                   Capital, LLC

 13                                                       Treatment: Within sixty days of the
                 Collateral:          Paradise Drive      Effective Date, the Reorganized
                                      Lots                Debtor shall pay the Class 4 Claim in
 14
           4
                                                          full; however, all interest accrued
 15              Collateral Value:    $266,600.00         after the Petition Date shall be at the
                 Lien Priority:       2nd                 rate of 18% per annum instead of the
 16
                                                          contractual rate.
 17              Claim Amount:     $124,653.99            The lien securing the Class 4 Claim
 18              Secured Amount:   $124,653.99            shall release upon payment in full.
                 Unsecured Amount: $0.00
 19
 20              Claimant:            Royal Business      Impaired: NO
                                      Bank
 21
                                                          Treatment: The Plan leaves unaltered
 22              Collateral:          San Marino          the legal, equitable, and contractual
                                      Property            rights of the holder of the Class 5
 23        5                                              Claim. Unless previously sold by
                 Collateral Value:    $2,350,000.00       noticed motion in this Bankruptcy
 24              Lien Priority:       1st                 Case, the San Marino Property shall
                                                          be surrendered on the Effective Date
 25
                                                          in full satisfaction of the Class 5
 26              Claim Amount:     $1,100,000.00          Claim.
                 Secured Amount:   $1,100,000.00
 27              Unsecured Amount: $0.00
 28

                                                 16
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  1      Class                 Description                             Treatment

  2              Claimant:            Corona Capital
  3                                                       Impaired: NO
                 Collateral:          San Marino
                                      Property            Treatment: The Plan leaves unaltered
  4
                                                          the legal, equitable, and contractual
  5        6     Collateral Value:    $2,350,000.00       rights of the holder of the Class 6
                 Lien Priority:       2nd                 Claim. Unless previously sold by
  6                                                       noticed motion in this Bankruptcy
                                                          Case, the San Marino Property shall be
  7                                                       surrendered on the Effective Date in
                 Claim Amount:     $540,000.00
  8              Secured Amount:   $540,000.00            full satisfaction of the Class 6 Claim.
                 Unsecured Amount: $0.00
  9
 10
                 Claimant:            DNQ LLC
 11                                                       Impaired: NO
                 Collateral:          San Marino
 12                                   Property            Treatment: The Plan leaves unaltered
                                                          the legal, equitable, and contractual
 13        7     Collateral Value:    $2,350,000.00       rights of the holder of the Class 7
                 Lien Priority:       3rd                 Claim. Unless previously sold by
 14                                                       noticed motion in this Bankruptcy
                                                          Case, the San Marino Property shall be
 15
                 Claim Amount:     $420,000.00            surrendered on the Effective Date in
 16              Secured Amount:   $420,000.00            full satisfaction of the Class 7 Claim.
                 Unsecured Amount: $0.00
 17

 18
                 Claimant:            LA County
 19                                   Treasurer and Tax
                                      Collector
 20                                                       Impaired: NO
                 Collateral:       Van Nuys Property Treatment: The Plan leaves unaltered
 21        8                                         the rights of the LA County Treasurer
 22              Collateral Value: $600,000.00       and Tax Collector. The Debtor will
                 Lien Priority:    1st               continue to make all payments to LA
 23                                                  County Treasurer and Tax Collector
                                                     pursuant to applicable law.
 24              Claim Amount:     $0.00
                 Secured Amount:   $0.00
 25
                 Unsecured Amount: $0.00
 26
 27
 28

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  1      Class                 Description                              Treatment

  2                                                        Impaired: YES
                 Claimant:            Investment
                                      Management Co.    Treatment: Within sixty days of the
  3
                                                        Effective Date, the Reorganized
  4              Collateral:          Van Nuys Property Debtor shall pay the Class 9 Claim in
                                                        full; however, all interest accrued after
  5        9     Collateral Value:    $600,000.00       the Petition Date shall be at the rate of
                 Lien Priority:       2nd               18% per annum instead of the
  6                                                     contractual rate.
  7                                                        The lien securing the Class 9 Claim
                 Claim Amount:     $350,000.00
  8              Secured Amount:   $350,000.00             shall release upon payment in full.
                 Unsecured Amount: $0.00                   In addition to these payment
  9
                                                           obligations, the Reorganized Debtor
 10                                                        shall remain current on all property
                                                           taxes and homeowners association
 11                                                        dues accrued by the Van Nuys
                                                           Property. The holder of the Class 9
 12                                                        Claim may request from the
 13                                                        Reorganized Debtor proof that all such
                                                           obligations are current and in good
 14                                                        standing. Such request shall be made
                                                           in writing to the Reorganized Debtors
 15                                                        counsel. Within ten (10) business
                                                           days after receipt of such request, the
 16                                                        Reorganized Debtor shall provide to
 17                                                        proof that all applicable property taxes
                                                           and homeowners association dues
 18                                                        accrued by the Van Nuys Property are
                                                           current and in good standing.
 19
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  1       Class                      Description                               Treatment

  2                                                              Impaired: YES
                       Claimant:            Michael and Shari
                                            Dorff             Treatment: Within sixty days of the
  3
                                                              Effective Date, the Reorganized
  4                    Collateral:          Van Nuys Property Debtor shall pay the Class 10 Claim in
                                                              full; however, all interest accrued after
  5         10         Collateral Value:    $600,000.00       the Petition Date shall be at the rate of
                       Lien Priority:       3rd               18% per annum instead of the
  6                                                           contractual rate.
  7                                                              The lien securing the Class 10 Claim
                       Claim Amount:     $50,000.00
  8                    Secured Amount:   $50,000.00              shall release upon payment in full.
                       Unsecured Amount: $0.00                   In addition to these payment
  9
                                                                 obligations, the Reorganized Debtor
 10                                                              shall remain current on all property
                                                                 taxes and homeowners association
 11                                                              dues accrued by the Van Nuys
                                                                 Property. The holder of the Class 10
 12                                                              Claim may request from the
 13                                                              Reorganized Debtor proof that all such
                                                                 obligations are current and in good
 14                                                              standing. Such request shall be made
                                                                 in writing to the Reorganized Debtors
 15                                                              counsel. Within ten (10) business
                                                                 days after receipt of such request, the
 16                                                              Reorganized Debtor shall provide to
 17                                                              proof that all applicable property taxes
                                                                 and homeowners association dues
 18                                                              accrued by the Van Nuys Property are
                                                                 current and in good standing.
 19
 20               2.        Classes of Priority Unsecured Claims

 21          Certain priority claims under 11 U.S.C. § 507(a)(3), (4), (5), (6), and (7) are required to be

 22   placed in classes. There are no such claims against Debtors bankruptcy estate.

 23               3.        Classes of General Unsecured Claims

 24          General unsecured claims are unsecured claims not entitled to priority under 11 U.S.C. §

 25   507(a). The following chart identifies this Plans treatment of the class containing all of Debtors

 26   general unsecured claims:

 27
 28

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  1      Class                Description                                Treatment

  2                                                         Impaired: YES
                 General Unsecured Claims
  3                                                         Treatment: In full and final
                 Filed Claims: $4,317,473.97                satisfaction of each, any, and allow
  4                                                         Class 11A allowed claim will be paid
                 Amount of allowed claims to be             in full with interest at the federal
  5        11A   determined pending the outcome of          judgment rate as of the Petition Date
                 Debtors objections to claim and pending   (0.07%), from the Petition Date until
  6              state court litigation.                    paid in full.
  7
                                                            The allowance of Class 11A claims
  8                                                         will be subject to Debtors right to
                                                            object to such claims as well as the
  9                                                         conclusion of related litigation in
 10                                                         which the Debtor asserts offsetting
                                                            claims against the holder of the Class
 11                                                         11A claim.

 12                                                         Each Class 11A claim shall be paid in
                                                            full upon the latter of (i) three years
 13                                                         after the Effective Date, or (ii) upon
                                                            adjudication by final, non-appealable
 14
                                                            order or judgment resolving claim
 15                                                         objections and related litigation.

 16                                                         Notwithstanding, should the Debtor
                                                            in its sole discretion decide to pay
 17                                                         any allowed Class 11A claim early
                                                            and within two years of the Effective
 18
                                                            Date, the Debtor shall be entitled to a
 19                                                         20% early-payment discount such
                                                            that Debtor may pay 80% of the
 20                                                         allowed Class 11A claim amount,
                                                            plus interest at the federal judgment
 21                                                         rate as of the Petition Date (0.07%),
                                                            in full and final satisfaction of said
 22
                                                            Class 11A claim.
 23
                 Subordinated Unsecured Claim of            Impaired: YES
 24
                 Jianqing Yang
 25        11B                                              Treatment: No payments under the
                 Filed Claim: $43,523,255.42                Plan will be made on behalf of the
 26                                                         Class 11B claim.
 27
 28

                                                 20
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  1               4.       Class of Interest Holders
  2          Interest holders are the parties who hold ownership interest (i.e., equity interest) in the

  3   Debtor. If the Debtor is a corporation, entities holding preferred or common stock in the Debtor
  4   are interest holders. If the Debtor is a partnership, the interest holders include both general and
  5   limited partners. If the Debtor is an individual, the Debtor is the interest holder. The following

  6   chart identifies the Plans treatment of the Class of interest holders:
  7       Class                     Description                                 Treatment

  8                                                               Impaired: NO
                       Equity interests in the Debtor
                       (100% held by Jianqing Yang).              Treatment: Each Class 12 interest
  9
            12                                                    holder will retain its rights and
 10                                                               interests without impairment.
 11                                                               Class 12 will not receive any
                                                                  payments on account of its equity
 12
                                                                  interests during the life of the Plan.
 13
             D.         Means of Effectuating the Plan
 14
                  1.       Funding for the Plan
 15
             The Plan will be funded by the following:
 16
             a.         Cash on hand in the approximate amount of $250,000;
 17
             b.         Rental income of approximately $42,504/year from Debtors expired leases (to
 18
                        holdover tenants) of 2520 and 2526 Lincoln Park, Los Angeles, CA 9003;1
 19
             c.         A $4,000,000 capital contribution by Jianqing Yang on the Effective Date;
 20
             d.         The sale of the San Marino Property;
 21
             e.         The sale of the Van Nuys Property;
 22
             f.         Additional capital contributions by Jianqing Yang to the extent necessary to fund
 23
                        Debtors payment obligations during the term of the Plan.
 24
                  2.       Composition of the Debtor After the Effective Date
 25
             After the Effective Date, the Debtor shall be known as the Reorganized Debtor. The
 26
      sole member of the Debtor, Jianqing Yang, will remain as the sole member of the Reorganized
 27
      Debtor.
 28

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  1              3.      Post-Confirmation Management and Compensation
  2          The current manager of the Debtor, Jianqing Yang, will remain as the manager of the

  3   Reorganized Debtor and will be responsible for the management and operation of the Debtors
  4   business. Mr. Yang will not receive any compensation for his services as manager of the
  5   Reorganized Debtor.

  6              4.      Disbursing Agent
  7          The Reorganized Debtor will act as the disbursing agent under the Plan and submit a
  8   quarterly report to the Court within 45 days after the end of each quarter, detailing the payees and
  9   amounts of payments to creditors under the Plan, along with updates on Debtors progress
 10   reorganizing under the Plan. The Reorganized Debtor will not charge any fee for acting as the
 11   disbursing agent and for making Plan distributions.

 12              5.      Objections to Claim
 13          The Debtor or Reorganized Debtor, as the case may be, will file objections to all claims
 14   that are inconsistent with the Debtors books and records or are otherwise objectionable to the
 15   Debtor unless the Debtor deems the inconsistency to be insignificant. With respect to disputed
 16   claims that are not resolved prior to the Plans Effective Date, the Reorganized Debtor will have
 17   the authority, in its sole discretion, and in the reasonable exercise of its business judgment, to

 18   settle or compromise any disputed claim without further notice or Court approval. As provided by
 19   11 U.S.C. § 502(c), the Bankruptcy Court may estimate any contingent or unliquidated disputed
 20   claim for purposes of confirmation of the Plan. As of the Effective Date, the Reorganized Debtor
 21   shall have the sole authority and standing to file any objections to claims following the
 22   confirmation of the Plan, and the Court shall retain jurisdiction over the Debtor, the Reorganized
 23   Debtor, and the Bankruptcy Case to resolve such objections to claims following the confirmation

 24   of the Plan. Nothing contained in the Plan shall constitute a waiver or release by the Debtor or the
 25   Reorganized Debtor of any rights of setoff or recoupment, or of any defense, the Debtor or the
 26   Reorganized Debtor may have with respect to any claim.
 27              6.      Avoidance Actions, Strong Arm Powers, and Causes of Action
 28          All avoidance actions and strong-arm powers of a trustee under chapter 5 of the

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  1   Bankruptcy Code, shall irrevocably vest in the Debtor and be transferred in total to the
  2   Reorganized Debtor upon confirmation of the Plan. The deadline for the Debtor or Reorganized

  3   Debtor to file such actions shall be the latter of (i) the statute of limitations for such cause of
  4   action and (ii) two years after the Petition Date. Regardless of whether they are listed on the
  5   Debtors bankruptcy schedules of assets or specified in the Plan, all causes of action owned by the

  6   Debtor shall vest in the Reorganized Debtor unless specifically settled with such settlement
  7   approved by order of the Bankruptcy Court prior to the confirmation of the Plan.
  8               7.      Employment of Professionals by the Reorganized Debtor and Payment of
  9                       Professional Fees and Expenses After the Effective Date
 10           On and after the Effective Date, the Reorganized Debtor shall have the right to employ and
 11   compensate professionals as the Reorganized Debtor determines is appropriate and to compensate

 12   any such professionals without the need for any notice or further order of the Court.
 13               8.      Exemption from Transfer Taxes
 14           Pursuant to 11 U.S.C. § 1146(c), the issuance, transfer or exchange of a security, or the
 15   making or delivery of an instrument of transfer under a plan confirmed under 11 U.S.C. § 1129
 16   may not be taxed under any law imposing a stamp tax or similar tax. Transfers under the Plan that
 17   are exempt from taxes under 11 U.S.C. § 1146(c) include all transfers by the Debtor after the

 18   commencement of the Bankruptcy Case in contemplation of the Plan but prior to the Effective
 19   Date. The taxes from which such transfers are exempt include stamp taxes, recording taxes, sales
 20   and use taxes, transfer taxes, and other similar taxes.
 21               9.      Distributions to Be Made Pursuant to the Plan
 22           Except as otherwise agreed to by the Reorganized Debtor in writing, distributions to be
 23   made to holders of allowed claims pursuant to the Plan may be delivered by regular mail, postage

 24   prepaid, to the address shown in the Debtors schedules, as they may from time to time be
 25   amended in accordance with Bankruptcy Rule 1009, or, if a different address is stated in a proof of
 26   claim duly filed with the Bankruptcy Court, to such address. Checks issued to pay allowed claims
 27   shall be null and void if not negotiated within sixty (60) days after the date of issuance thereof.
 28               10.     Exculpations and Releases

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  1          To the maximum extent permitted by law, neither the Debtor, the Reorganized Debtor,
  2   their management, the Committee, its members, nor any of their professionals employed or

  3   retained by any of them, whether or not by Bankruptcy Court order, shall have or incur any
  4   liability to any person or entity for any act taken or omission made in good faith in connection
  5   with or related to the formulation and implementation of the Plan, or a contract, instrument,

  6   release, or other agreement or document created in connection therewith, the solicitation of
  7   acceptances for or confirmation of the Plan, or the consummation and implementation of the Plan
  8   and the transactions contemplated therein, including the distribution of estate funds.
  9              11.     Injunctions
 10          The Plan Confirmation Order shall enjoin the prosecution, whether directly, derivatively or
 11   otherwise, of any claim, obligation, suit, judgment, damage, demand, debt, right, cause of action,

 12   equitable remedy, liability or interest released, discharged, stayed, or terminated pursuant to the
 13   Plan. Except as provided in the Plan or the Plan Confirmation Order, as of the Plan Effective
 14   Date, all entities that have held, currently hold or may hold a claim or other debt or liability or
 15   equitable remedy that was stayed or is discharged or an interest or other right of an equity security
 16   holder that is extinguished pursuant to the terms of the Plan are permanently enjoined from taking
 17   any of the following actions against: (I) (a) the Debtor, (b) the Reorganized Debtor, or (c) the

 18   officers, directors, managers, and equity holders of the Debtor as their alleged alter egos, or (II)
 19   their property; on account of any such discharged claims, debts or liabilities or extinguished
 20   interests or rights: (i) commencing or continuing, in any manner or in any place, any action or
 21   other proceeding; (ii) enforcing, attaching, collecting or recovering in any manner any judgment,
 22   award, decree or order; (iii) creating, perfecting or enforcing any lien or encumbrance; (iv)
 23   asserting a setoff, right of subrogation or recoupment of any kind against any debt, liability or

 24   obligation due to the Debtor; and (iv) commencing or continuing any action in any manner, in any
 25   place, that does not comply with or is inconsistent with the provisions of the Plan. By accepting
 26   distributions pursuant to the Plan, each holder of an allowed claim receiving distributions pursuant
 27   to the Plan shall be deemed to have specifically consented to the injunctions set forth in this
 28   Section; provided, however, that this sentence shall only be operative (and thereby providing an

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  1   injunction, as set forth in this Section) in favor of the officers, directors, managers, and equity
  2   holders of the Debtor as their alleged alter egos so long as there are no uncured material defaults

  3   under this Plan. The injunction described in this paragraph is applicable to all creditors and
  4   parties in interest with respect to claims or causes of action arising or existing prior to the Plan
  5   Effective Date.

  6           All creditors and parties in interest who are presented with a copy of the Plan Confirmation
  7   Order are charged with actual knowledge of this injunction and with actual knowledge that the
  8   injunction is applicable to said creditor and/or party in interest, such that it is impossible for said
  9   creditor and/or party in interest to have a good faith belief that the injunction does not apply to
 10   said creditors and/or party in interests claim or cause of action. Accordingly, any creditor and/or
 11   party in interest charged with actual knowledge may be held in contempt for violation the

 12   injunction, which contempt proceeding shall include the Reorganized Debtors reasonable
 13   attorneys fees and costs for enforcing the injunction.
 14               12.     Executory Contracts and Unexpired Leases
 15           The Debtor does not believe it is a party to any executory contracts or unexpired leases as
 16   the Debtor contends that Betula breached the Betula Agreement before the Petition Date.
 17   However, as of the Effective Date, any executory contract or unexpired lease to which the Debtor

 18   is a party shall be deemed to be rejected by the Debtor effective as of 11:59 P.M. PST on the Plan
 19   Effective Date. THE BAR DATE FOR FILING A PROOF OF CLAIM BASED ON A
 20   CLAIM ARISING FROM THE REJECTION OF AN EXECUTORY CONTRACT OR
 21   UNEXPIRED LEASE WHICH IS REJECTED ON THE PLAN EFFECTIVE DATE WILL
 22   BE THIRTY DAYS AFTER THE PLAN EFFECTIVE DATE. Any claim resulting from the
 23   Debtors rejection of an executory contract or unexpired lease will be barred if the proof of claim

 24   is not timely filed, unless the Court orders otherwise. Any allowed claim resulting from the
 25   Debtors rejection of an unexpired lease or executory contract will constitute a Class 5 allowed
 26   claim, subject to the limitations set forth in 11 U.S.C. § 502(b) and other applicable sections of the
 27   Bankruptcy Code.
 28

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  1                 13.      Changes in Rates Subject to Regulatory Commission Approval
  2            The Debtor is not subject to governmental regulatory commission approval of its rates.

  3                 14.      Retention of Jurisdiction
  4            The Court will retain jurisdiction to the extent provided by law.
  5      IV.        CONFIRMATION REQUIREMENTS AND PROCEDURES

  6            PERSONS OR ENTITIES CONCERNED WITH CONFIRMATION OR THIS PLAN
  7   SHOULD CONSULT WITH THEIR OWN ATTORNEYS BECAUSE THE LAW ON
  8   CONFIRMING A PLAN OF REORGANIZATION IS VERY COMPLEX.
  9            The following discussion is intended solely for the purpose of alerting readers about basic
 10   confirmation issues, which they may wish to consider, as well as certain deadlines for filing
 11   claims. The Debtor CANNOT and DOES NOT represent that the discussion contained below is a

 12   complete summary of the law on this topic.
 13            Many requirements must be met before the Court can confirm a Plan. Some of the
 14   requirements include that the Plan must be proposed in good faith, acceptance of the Plan, whether
 15   the Plan pays creditors at least as much as creditors would receive in a Chapter 7 liquidation, and
 16   whether the Plan is feasible. These requirements are not the only requirements for confirmation.
 17            A.         Classification and Treatment of Claims

 18            The Plan must classify different claims against the Debtor into separate classes based upon

 19   their legal nature. 11 U.S.C. § 1122. Claims of a substantially similar legal nature may be

 20   classified together but are not required to be. 11 U.S.C. § 1122(a). Separate classification of
 21   administrative expense claims and certain priority claims is not required because such claims are
 22   afforded specific treatment under the Bankruptcy Code. See 11 U.S.C. § 1129(a)(9).
 23            The Debtor believes that the classification of claims in the Plan is appropriate and

 24   consistent with the requirements of the Bankruptcy Code. The Court will determine the
 25   appropriateness of the classification of the claims under the Plan in conjunction with the hearing
 26   on confirmation of the Plan.
 27            The Plan must designate each separate class of claims and interests either as impaired or
 28   unimpaired. If a Class is impaired, then holders of claims in that class are entitled to (1) vote to

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  1   accept or reject the plan (unless the Plan provides for no distribution to the class, in which case the
  2   class is deemed to reject the Plan), and (2) receive payment at least equal to the value that the

  3   claimant would under a chapter 7 liquidation. If a Class is unimpaired, then Creditors holding
  4   claims in that class are deemed to accept the Plan and not entitled to vote.
  5          B.        Who May Object to Confirmation of the Plan

  6          Any party in interest may object to the confirmation of the Plan, but as explained below
  7   not everyone is entitled to vote to accept or reject the Plan.
  8          C.        Who May Vote to Accept or Reject the Plan
  9          To be eligible to vote on the Plan, a creditor must have a claim that is allowed and
 10   impaired. Persons holding claims that are disallowed or unimpaired are not entitled to vote. 11
 11   U.S.C. § 1129(a)(8).

 12               1.      Allowed Claims
 13          Generally, a claim is allowed only if (1) a proof of claim is properly filed before the
 14   Claims Bar Date, and (a) no party in interest has objected to the Proof of Claim, or (b) the Court
 15   has entered an order allowing the Claim; or (2) the claim is listed on the Debtors Schedules and
 16   not identified as disputed, contingent, or unliquidated. 11 U.S.C. §§ 501(a), 1111(a).
 17          A claim that is allowed for voting purposes may still be subject to later objections and

 18   disallowance. A person whose claim is subject to an objection is not eligible to vote on the Plan
 19   unless and until that objection is resolved in that persons favor, or the Court temporarily allows
 20   the claim for the purpose of voting on the Plan after notice and a hearing under Bankruptcy Rule
 21   3018(a). Any person that seeks temporary allowance of its Claim for voting purposes must
 22   promptly file an appropriate motion and take the steps necessary to arrange a timely hearing.
 23               2.      Voting Requirements

 24          A creditor holding a claim against the estate may vote to accept or reject the Plan. 11
 25   U.S.C. § 1126(a). Creditors holding claims in an unimpaired class are conclusively presumed to
 26   accept the Plan and are ineligible to vote on acceptance. 11 U.S.C. § 1126(f). The Court may
 27   designate any creditor whose acceptance or rejection of the Plan was not in good faith or in
 28   accordance with the Bankruptcy Code. 11 U.S.C. § 1126(e).

                                                  27
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  1                3.      Votes Necessary for a Class to Accept the Plan
  2           A class has accepted the Plan only when more than one-half (1/2) in number and at least

  3   two-thirds (2/3) in amount of the Allowed Claims in that Class vote to accept the plan. 11 U.S.C. §
  4   1126(c).
  5                4.      Votes Necessary for a Class to Accept the Plan

  6           The Plan may be confirmed if at least one impaired class has voted to accept the Plan
  7   (without counting the votes of any insiders whose claims are classified within that class) and if
  8   certain statutory requirements are met both as to non-consenting members within a consenting
  9   class and as to dissenting Classes. See 11 U.S.C. §§ 1126(c), 1129(a)(10).
 10           Even if Debtor receives the requisite number of votes to confirm the Plan, the Plan will not
 11   become binding unless and until, among other things, the Court makes an independent

 12   determination that confirmation is appropriate. This determination will be the subject of the
 13   hearing on confirmation of the Plan.
 14           D.        Cramdown: Treatment of Nonaccepting Classes
 15           Even if all classes do not consent to confirmation of the Plan, the Plan may be confirmed
 16   nonetheless if each dissenting class is treated in the manner prescribed by the Bankruptcy Code.
 17   The process by which a dissenting class is forced to abide by the terms of a Plan is commonly

 18   referred to as cramdown.
 19           The Bankruptcy Code allows a dissenting class to be crammed down if the plan does not
 20   discriminate unfairly and is fair and equitable as to such class. 11 U.S.C. § 1129(b). The
 21   Bankruptcy Code does not define unfair discrimination, but it does set forth certain minimum
 22   requirements for fair and equitable treatment. For secured claims, fair and equitable can mean
 23   that the creditors retain their liens and receive deferred cash payments equal to the present value of

 24   their lien interests in the collateral. For unsecured claims, the Plan is fair and equitable if the
 25   allowed unsecured claims receive if (a) they receive payment in full under the Plan, or (b) no
 26
 27
 28

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  1   junior claim or interest receives or retains any payment under the Plan.
  2           E.      Liquidation Analysis

  3           Section 1129(a)(7) requires each holder of a claim in an impaired class to either (a) accept
  4   the plan, and (b) receive not less than the holder would so receive if the estate was liquidated
  5   under chapter 7. This is known as the best interests of creditors test.

  6           In a chapter 7 case, a chapter 7 trustee is appointed to sell property the bankruptcy estate.
  7   Secured creditors are paid first from the sales proceeds of properties on which the secured creditor
  8   has a lien. Administrative expenses and priority claims are paid next. Next, unsecured claims are
  9   paid from any remaining sales proceeds, according to their rights to priority. Unsecured claims
 10   with the same priority share in proportion to the amount of their allowed claim in relationship to
 11   the amount of total allowed unsecured claims. Finally, interest holders receive the balance that

 12   remains after all creditors are paid, if any.
 13           To confirm a plan of reorganization, the bankruptcy court must find that all creditors and
 14   interest holders who do not accept the plan will receive at least as much under the plan as such
 15   holders would receive under a liquidation under chapter 7. The Debtor believes this requirement
 16   is met here because all holders of allowed claims will be paid in full. Nonetheless, table
 17   summarizing the Debtors liquidation analysis is attached hereto as Exhibit 3.

 18           F.      Feasibility
 19           To confirm the Plan, the Court must find that confirmation of the Plan is not likely to be
 20   followed by the liquidation, or the need for further financial reorganization, of the Debtor or any
 21   successor to Debtor under the Plan. 11 U.S.C. § 1129(a)(11).
 22           There are at least two important aspects of a feasibility analysis. The first aspect considers
 23   whether there will be enough cash on hand on the Effective Date to pay all the claims on such

 24   date. The second aspect considers whether the Reorganized Debtor will earn sufficient income to
 25   make all required payments under the Plan.
 26           With respect to the first aspect of feasibility, the Debtor will have sufficient cash on hand
 27   to make Effective Date payments. Jianqing Yang will make a capital contribution of $4,000,000,
 28   which fund the Effective Date Plan payments, which are estimated to total $275,000.

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  1           With respect to the second aspect of feasibility, the Debtor will have sufficient cash to
  2   make all payments during the term of the Plan. A table summarizing the Debtors plan payments

  3   and necessary funding is attached hereto as Exhibit 4.
  4           G.     Risk Factors
  5           The primary risk factor of the Plan is the ability of the Debtor to obtain the entitlements for

  6   the Los Angeles Properties and Paradise Drive Lots, and sell or refinance those properties, within
  7   the Plans three-year term. Other lesser risk factors include (1) the Debtors ability to sell the San
  8   Marino and Van Nuys Properties in a timely manner, and (2) Jianqing Yangs ability to make
  9   further capital contributions to the Debtor to fund its payment obligations under the Plan.
 10           H.     Tax Consequences of the Plan
 11           CREDITORS AND INTEREST HOLDERS CONCERNED WITH HOW THE PLAN

 12   MAY AFFECT THEIR TAX LIABILITY SHOULD CONSULT WITH THEIR OWN
 13   ACCOUNTANTS, ATTORNEYS, AND/OR ADVISORS.
 14           The following disclosure of possible tax consequences is intended solely for the purpose of
 15   alerting readers about possible tax issues this Plan may present to the Debtor. The Debtor
 16   CANNOT and DOES NOT represent that the tax consequences contained below are the only tax
 17   consequences of the Plan because the Tax Code embodies many complicated rules which make it

 18   difficult to state completely and accurately all the tax implications of any action.
 19           The following are the tax consequences which the Plan will have on the Debtors tax
 20   liability: Debtor will incur taxes on the amounts collected as lease payments from 2520 and 2560
 21   Lincoln Park, Los Angeles, CA 90031. There may be additional tax consequences. Creditors and
 22   parties-in-interest should conduct their own independent investigation of the Debtors tax returns
 23   and potential tax consequences.

 24      V.        EFFECT OF CONFIRMATION
 25           A.     Discharge
 26           This Plan provides that upon entry of a final decree, the Debtor shall be discharged of
 27   liability for payment of debts incurred before confirmation of the Plan, to the extent specified in
 28   11 U.S.C. § 1141. However, the discharge will not discharge any liability imposed by the Plan.

                                                  30
          Debtors Combined Plan of Reorganization and Disclosure Statement Dated May 4, 2022
                                                                            Exhibit 3, Page 73
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  1           B.     Revesting of Property in the Reorganized Debtor
  2           Except as provided elsewhere in the Plan, the confirmation of the Plan revests all of the

  3   property of the estate in the Reorganized Debtor.
  4           C.     Modification of Plan
  5           The Debtor may modify the Plan at any time before confirmation. However, the Court

  6   may require re-voting on the Plan if the Debtor modifies the Plan before confirmation in a manner
  7   that materially and adversely affects a creditor or interest holder that had voted in favor of the
  8   Plan. The Reorganized Debtor may also seek to modify the Plan at any time after confirmation
  9   only if (1) the Plan has not been substantially consummated and (2) the Court authorizes the
 10   proposed modifications after notice and a hearing.
 11           D.     Post-Confirmation Status Reports

 12           Until a final decree closing the Bankruptcy Case is entered, the Reorganized Debtor will

 13   file quarterly post-confirmation status reports with the Bankruptcy Court explaining what progress

 14   has been made toward consummation of the confirmed Plan.

 15           E.     Quarterly Fees
 16           Quarterly fees accruing under 28 U.S.C. § 1930(a)(6) to date of confirmation shall be paid
 17   to the United States Trustee on or before the effective date of the plan. Quarterly fees accruing

 18   under 28 U.S.C. § 1930(a)(6) after confirmation shall be paid to the United States Trustee in

 19   accordance with 28 U.S.C. § 1930(a)(6) until entry of a final decree, or entry of an order of
 20   dismissal or conversion to chapter 7.
 21           F.     Post-Confirmation Conversion or Dismissal
 22           A creditor or party in interest may bring a motion to convert or dismiss the case under 11
 23   U.S.C. § 1112(b), after the Plan is confirmed, if there is a default in performing the Plan. If the

 24   Court orders, the case converted to Chapter 7 after the Plan is confirmed, then all property that had
 25   been property of the Chapter 11 estate, and that has not been disbursed pursuant to the Plan, will
 26   revest in the Chapter 7, estate. The automatic stay will be reimposed upon the revested property,
 27   but only to the extent that relief from stay was not previously authorized by the Court during this
 28   case.

                                                  31
          Debtors Combined Plan of Reorganization and Disclosure Statement Dated May 4, 2022
                                                                            Exhibit 3, Page 74
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  1          The order confirming the Plan may also be revoked under very limited circumstances. The
  2   Court may revoke the order if the order of confirmation was procured by fraud and if the party in

  3   interest brings an adversary proceeding to revoke confirmation within 180 days after the entry of
  4   the order of confirmation.
  5          G.      Final Decree

  6          Once the estate has been fully administered as referred to in Bankruptcy Rule 3022, the
  7   Debtor, or other party as the Court shall designate in the Plan Confirmation Order, shall file a
  8   motion with the Court to obtain a final decree to close the case.
  9
 10   Dated: May 3, 2022                    SHIODA LANGELY & CHANG, LLP
 11                                                 By: /s/Christopher J. Langley
                                                    Christopher J. Langley, Counsel for
 12                                                 Jinzheng Group (USA), LLC, Debtor
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          Debtors Combined Plan of Reorganization and Disclosure Statement Dated May 4, 2022
                                                                            Exhibit 3, Page 75
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                                                                  Exhibit 3, Page 76
                                                                                      First Priority Lien                                 Second Priority Lien                              Third Priority Lien
                              Property             Property Value                                                                                                                                                                  Total Liens
                                                                               Claimant                     Amount                  Claimant                   Amount                 Claimant                    Amount
                     Los Angeles Properties
                        2929 Amethyst          $        6,890,000.00
                        2526 2528 Lincoln Park $          795,000.00
                        2520 2522 Lincoln Park $        1,050,000.00 LA County Tax Collector         $                    Royalty Equity Lending LLC   $       9,353,009.29                                                    $ 9,353,009.29
                        2602 Lincoln Park      $          300,000.00
                        2600 Sierra Street     $          300,000.00
                                               $        9,335,000.00

                     Paradise Drive Lots      $          266,600.00 LA County Tax Collector          $                    Breezeblocks Capital LLC     $        124,653.99                                                     $    124,653.99

                     San Marino Property      $         2,350,000.00 Royal Business Bank             $       1,100,000.00 Corona Capital Group, LLC    $        540,000.00 DNQ LLC                        $         420,000.00 $ 2,060,000.00

                     Van Nuys Property        $          660,000.00 LA County Tax Collector          $                    Investment Management Co.    $        350,000.00 Michael and Sheri Dorff        $          50,000.00 $    400,000.00
                                                                                                                                                                                                                                                                         Case 2:21-bk-16674-ER
                                                                                                                                                                                                                                                 Main Document    Page 77 of 197
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                                                                                                   In re Jinzheng Group (USA), LLC , Case No. 2:21 bk 16674 ER




Exhibit 3, Page 77
                                                                                                      Exhibit 1 Summary of Debtor's Real Property Holdings
                                                                                                      Secured Claims                                            Unsecured Claims                                                   Plan Treatment
                       Source                       Creditor                         Amount              Collateral          Lien Type         Administrative       Priority           Unsecured      Duplicate   Classification     Claim Objection       SC Litigation / Notes
                      Sch D 2.2   Royal Business Bank                           $    1,100,000.00       San Marino            1st DOT        $                  $                  $                                 Class 6
                      Sch D 2.3   Corona Capital                                $      540,000.00       San Marino           2nd DOT         $                  $                  $                  POC 8
                      Sch D 2.4   DNQ LLC                                       $      420,000.00       San Marino            3rd DOT        $                  $                  $                  POC 21
                      Sch D 2.5   Investment Management Co.                     $      350,000.00        Van Nuys             1st DOT        $                  $                  $                  POC 2
                      Sch D 2._   The Alison Company                            $       50,000.00        Van Nuys            2nd DOT         $                  $                  $                  POC 4
                      Sch D 2._   Pacific Mortgage Exchange                     $      127,000.00      Paradise Lots          1st DOT        $                  $                  $                  POC 14

                     Sch EF 3.13 Jianqing Yang                                                                                               $                  $                  $ 43,523,255.42                 Class 11B

                       POC 1      LA Treasurer and Tax Collector                 $                                                           $                $                 $                                                                       Proof of Claim Withdrawn
                       POC 2      Royalty Equity Lending, LLC (BOB's LLC)        $   9,335,000.00       Los Angeles           1st DOT        $                $                 $         18,009.29                  Class 2
                        POC 3     Internal Revenue Service                       $                                                           $                $       28,700.70 $
                        POC 4     Michael and Shari Dorff                        $      50,000.00        Van Nuys            2nd DOT         $                $                 $                                   Class 11
                        POC 5     Investment Management Company                  $     350,000.00        Van Nuys            1st DOT         $                $                 $                                   Class 10
                        POC 6     Testa Capital Group                            $                                                           $                $       13,650.00 $        672,900.00                Class 11A                           Broker Action, 22AHCV00093
                                                                                                                                                                                                                                                                                                            Case 2:21-bk-16674-ER




                        POC 7     Home Loans Unlimited, Inc.                     $                                                           $                $       13,650.00 $        672,900.00                Class 11A                           Broker Action, 22AHCV00093
                        POC 8     Corona Capital Group, LLC                      $     540,000.00       San Marino            2nd DOT        $                $                 $                                    Class 7
                        POC 9     Michael Carlin                                 $                                                           $      15,650.00 $                 $                                    Admin              Doc. 116
                       POC 10     Michael Carlin                                 $                                                           $      15,650.00 $                 $                                    Admin              Doc. 116
                       POC 11     UltraSystems Environmental                     $                                                           $                $                 $         37,106.50                Class 11A
                       POC 12     Land Design Consultants                        $                                                           $                $                 $         48,145.00                Class 11A
                       POC 13     Craig Fry and Associates                       $                                                           $                $                 $        240,700.47                Class 11A            Doc. 110
                       POC 14     Breezeblock Capital, LLC                       $     124,653.99      Paradise Lots          1st DOT        $                $                 $                                    Class 5
                                                                                                                                                                                                                                                       Betula Action, 22STCV04623
                       POC 15     Betty Zheng                                    $                                                                              $                  $      95,000.00                Class 11A
                                                                                                                                             $                                                                                                         Broker Action, 22AHCV00093
                       POC 16     Shawn Charles Sourgose                         $                                                           $                  $     13,650.00    $    672,900.00                 Class 11A                           Broker Action, 22AHCV00093
                       POC 17     The Phalanx Group                              $                                                           $                  $                  $    158,845.00                 Class 11A            Doc. 113
                                                                                                                                                                                                                                                                                    Main Document




                       POC 18     Betula Lenta Inc.                              $                                                           $                  $                  $ 1,643,977.00                  Class 11A            Doc. 120       Betula Action, 22STCV04623
                       POC 19     Donna Bullock Esq                              $     45,000.00      Retainer Funds                         $    138,303.00    $                  $                                Admin
                       POC 20     Pennington Construction Advisors Inc           $                                                           $                  $                  $     75,000.00                 Class 11A            Doc. 107
                       POC 21     DNQ LLC                                        $    420,000.00        San Marino            3rd DOT        $                  $                  $                                Class 8
                                                                    Total        $ 11,964,653.99                                             $    169,603.00    $     69,650.70    $ 47,858,738.68

                     Note: Disputed Claims. Debtor reserves all rights to object to claims and assert affirmative claims against claimant.
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Exhibit 3, Page 78
                                                                                                                    In re Jinzheng Group (USA), LLC, Case No. 2:21 bk 16674 ER
                                                                                                                 Exhibit 2 Summary of Claims Against Debtor's Bankruptcy Estate
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Assets
   Los Angeles Properties
       2929 Amethyst                                   $ 6,890,000.00
       2526 2528 Lincoln Park                          $   795,000.00
       2520 2522 Lincoln Park                          $ 1,050,000.00
       2602 Lincoln Park                               $   300,000.00
       2600 Sierra Street                              $   300,000.00
                                                       $ 9,335,000.00

   Paradise Drive Lots                                 $    266,600.00

   San Marino Property                                 $ 2,350,000.00

   Van Nuys Property                                   $    660,000.00

   Total Assets                                        $ 12,611,600.00

Less Secured Debt
   Los Angeles Properties
          Los Angeles County Tax Collector             $
          Royalty Equity Lending (POC 2)               $ 9,353,009.29
                                                       $ 9,353,009.29

   Paradise Drive Lots
         Los Angeles County Tax Collector              $
         Pacific Mortgage Exchange                     $    127,000.00
                                                       $    127,000.00

   San Marino Property
        Royal Business Bank                            $ 1,100,000.00
        Corona Capital                                 $   540,000.00
        DNQ                                            $   420,000.00
                                                       $ 2,060,000.00

   Van Nuys Property
         Los Angeles County Tax Collector              $
         Investment Management Co.                     $    350,000.00
         Michael and Sheri Dorff                       $     50,000.00
                                                       $    400,000.00

   Total Secured Debt                                  $ 11,940,009.29

   Available Equity in Real Properties
                                                       $    689,600.00
   To Administer

Less Chapter 7 Administrative Expenses (Estimated)
   Chapter 7 Trustee Statutory Fees                $         82,312.60
   Chapter 7 Trustee Legal Fees                    $        150,000.00
   Broker Commissions                              $        163,830.00
                                                   $        396,142.60

Less Prepetition Priority Tax Claims
     Internal Revenue Service                          $     28,700.70

Balance Available to Pay General Unsecured
                                                       $    264,756.70
Claims in Chapter 7
                                       In re Jinzheng Group (USA), LLC, Case No. 2:21 bk 16674 ER
                                                      Exhibit 3 Liquidation Analysis

                                                                                                    Exhibit 3, Page 79
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                         EXHIBIT 4

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 1   Jeffrey W. Dulberg (State Bar No. 181200)
     Robert M. Saunders (State Bar No. 226172)
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 5            rsaunders@pszjlaw.com

 6   Counsel to the Official Committee of
     Unsecured Creditors
 7
                               UNITED STATES BANKRUPTCY COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
                                        LOS ANGELES DIVISION
10

11    In re                                          Case No. 2:21-bk-16674-ER
                                                     Chapter 11
12    JINZHENG GROUP (USA) LLC
                                                     STIPULATION TO CONTINUE
13                Debtor and Debtor in Possession.   HEARING ON MOTION FOR ORDER
                                                     APPROVING DEBTOR’S COMBINED
14
                                                     PLAN OF REORGANIZATION AND
15                                                   DISCLOSURE STATEMENT DATED
                                                     MAY 4, 2022 AS CONTAINING
16                                                   ADEQUATE INFORMATION AND
                                                     DISCLOSURE PURSUANT TO 11 U.S.C.
17                                                   § 1125
18
                                                     [Relates to Docket Nos. 204, 205 and 206]
19
                                                     Current Hearing:
20                                                   Date:        June 15, 2022
                                                     Time:        10:00 a.m.
21                                                   Location:    Courtroom 1568
22                                                                255 E. Temple St.
                                                                  Los Angeles, CA 90012
23
                                                     Proposed Continued Hearing:
24                                                   Date:       July 6, 2022
                                                     Time:       10:00 a.m.
25                                                   Location:   Courtroom 1568
26                                                                255 E. Temple St.
                                                                  Los Angeles, CA 90012
27

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 1           Jinzheng Group (USA) LLC (the “Debtor”), the Official Committee of Unsecured Creditors

 2   (the “Committee”), and Investment Management Company, LLC (“IMC, and together with the

 3   Debtor and the Committee, the “Parties”), by and through their respective attorneys, agree and

 4   stipulate to the following:

 5                                                   RECITALS

 6           A.         On May 4, 2022, the Debtor filed its Combined Plan of Reorganization and

 7   Disclosure Statement Dated May 4, 2022 [Docket No. 204] (the “Plan & Disclosure Statement”).

 8           B.         May 4, 2022 the Debtor filed its Motion for Order Approving Debtor’s Combined

 9   Plan of Reorganization and Disclosure Statement Dated May 4, 2022 as Containing Adequate

10   Information and Disclosures Pursuant to 11 U.S.C. § 1125 [Docket No. 205] (the “Motion to

11   Approve Plan and Disclosure Statement”), which is currently set to be heard on June 15, 2022.

12           C.         On May 27, 2022, IMC filed an opposition to the Plan & Disclosure Statement

13   [Docket No. 234].

14           D.         The hearing on the Committee’s Motion for (I) the Appointment of a Chapter 11

15   Trustee, or in the Alternative, (II)(A) Termination of Plan and Solicitation Exclusivities and (B)

16   Authorizing Standing for the Committee of Creditors Holding Unsecured Claims to Prosecute

17   Actions Against Insiders of the Debtor [Docket No. 136] (the “Motion to Appoint Trustee”) is set to

18   be heard on July 6, 2022 at 10:00 a.m.

19           E.         The Parties recognize and agree that in the interests of judicial economy, the hearing

20   on the Motion to Approve Plan and Disclosure Statement should be conducted at the same date and

21   time as the Motion to Appoint Trustee.

22           NOW THEREFORE, the Parties have conferred and stipulate as follows:

23                                                 STIPULATION

24           The Parties request to have the Motion to Approve Plan and Disclosure Statement heard on

25   July 6, 2022 at 10:00 a.m., which is the same date and time as the Motion to Appoint Trustee.

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                                                          specify):




                                                                                                      date




     date




                                                                             date




                                                                         Nancy H. Brown
 Date                        Printed Name                             Signature




June 2012
DOCS_LA:343552.2 46360/002


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        Allan D Sarver ADS@asarverlaw.com
        David Samuel Shevitz david@shevitzlawfirm.com,
        shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov




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                         EXHIBIT 5

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): STIPULATION TO (1) WITHDRAW DEBTOR'S
COMBINED PLAN OF REORGANIZATION AND DISCLOSURE STATEMENT WITHOUT PREJUDICE AND (2)
WITHDRAW OFFICIAL COMMITTEE OF UNSECURED CREDITORS' MOTION FOR THE APPOINTMENT OF A
CHAPTER 11 TRUSTEE WITHOUT PREJUDICE will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 June 16, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                           Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date)                      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                           Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                      , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                           Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 June 16, 2022                            Patricia Morris                                      /s/ Patricia Morris
 Date                                     Printed Name                                         Signature




1685211.1 27086 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
                                                                                                                         Exhibit 5, Page 95
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA

          Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
          Steven P Chang heidi@spclawoffice.com,
          schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notif
          y.cincompass.com;changsr75251@notify.bestcase.com
          Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
          Heidi M Cheng heidi@slclawoffice.com,
          assistant1@spclawoffice.com;schang@spclawoffice.com;chenghr75251@notify.bestcase.com
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          John N Tedford jtedford@DanningGill.com,
          danninggill@gmail.com;jtedford@ecf.courtdrive.com
          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
          Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov




1685211.1 27086 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
                                                                                                                         Exhibit 5, Page 96
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                         EXHIBIT 6

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 1 ZEV SHECHTMAN (State Bar No. 266280)
   zs@DanningGill.com
 2 ALPHAMORLAI L. KEBEH (State Bar No. 336798)
   akebeh@DanningGill.com
 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 Proposed Attorneys for Jinzheng Group (USA)
   LLC
 7

 8
                                 UNITED STATES BANKRUPTCY COURT
 9
                                  CENTRAL DISTRICT OF CALIFORNIA
10
                                         LOS ANGELES DIVISION
11
     In re                                             Case No. 2:21-bk-16674-ER
12
     JINZHENG GROUP (USA) LLC,                         Chapter 11
13
                       Debtor and Debtor-in-           ORDER APPROVING STIPULATION TO
14                     Possession.
                                                       PLAN OF REORGANIZATION AND
15                                                     DISCLOSURE STATEMENT WITHOUT
                                                       PREJUDICE AND (2) WITHDRAW
16                                                     OFFICIAL COMMITTEE OF
                                                                              MOTION
17                                                     FOR THE APPOINTMENT OF A
                                                       CHAPTER 11 TRUSTEE WITHOUT
18                                                     PREJUDICE

19                                                     [Related to Docket Nos. 136 and 205]

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     1685207.1 27086                               1
                                                                                Exhibit 6, Page 98
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 1            The Court, having read and considered the

 2 Plan of Reorganization and Disclosure Statement                                    Without

 3

 4 Appointment of a Chapter 11 Trustee                                Without Prejudice (the

 5                                250), and with good cause shown,

 6            IT IS ORDERED:

 7            1.       The Stipulation is approved.

 8            2.                                                                                ,

 9 and the July 6, 2022 hearing thereon is vacated.

10            3.                                                                                ,

11 and the July 6, 2022 hearing thereon is vacated.

12                                                    ###

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     1685207.1 27086                                   2
                                                                          Exhibit 6, Page 99
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                         EXHIBIT 7

                                                                 Exhibit 7, Page 100
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 1 ZEV SHECHTMAN (State Bar No. 266280)
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 4 DANNING, GILL, ISRAEL & KRASNOFF, LLP
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 5 Los Angeles, California 90067-6006
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 6 Facsimile: (310) 277-5735

 7 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 8
                          UNITED STATES BANKRUPTCY COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10
                                    LOS ANGELES DIVISION
11

12
     In re                                                Case No. 2:21-bk-16674-ER
13
     JINZHENG GROUP (USA) LLC,                            Chapter 11
14
                       Debtor and Debtor in
15                     Possession.                        AND APPLICATION TO EMPLOY
                                                          RE/MAX OF CERRITOS AND
16                                                        COLDWELL BANKER AS REAL
                                                          ESTATE BROKERS AND TO ENTER
17                                                        INTO AN EXCLUSIVE LISTING
                                                          AGREEMENT; DECLARATION RE
18                                                        DISINTERESTEDNESS FOR
                                                          EMPLOYMENT OF PROFESSIONAL
19                                                        PERSONS UNDER F.R.B.P. 2014

20                                                        [No Hearing Required]

21

22            PLEASE TAKE NOTICE                                                               eby applies

23 pursuant to 11 U.S.C. § 328 for entry of an order authorizing the Debtor to employ Re/Max of

24 Cerritos and Coldwell Banker (                                 through its agents Stephen Eng and

25 William Friedman respectively as the             real estate brokers in this case, consistent with the

26                                                                     .

27            In compliance with Local Bankruptcy Rule 2014-1(b)(3), the Debtor hereby provides the

28 following information regarding the Application:

     1688146.2 27086                                  1
                                                                                   Exhibit 7, Page 101
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 1            1.       Identity of professional and the purpose and scope for which it is being employed

 2            The Debtor seeks to employ Re/Max of Cerritos and Coldwell Banker (the

 3 through its agents Stephen Eng and William Friedman as the                 real estate brokers in this

 4 case, to assist the Debtor in the marketing and sale of real property located at 2240 Lorain Road,

 5 San Marino, California 91108                      ).

 6            2.       Whether professional seeks compensation pursuant to 11 U.S.C. § 328 or 11 U.S.C.

 7 § 330

 8            The Debtor will seek to compensate the Broker pursuant to 11 U.S.C. § 328.

 9            3.       Arrangements for compensation

10            The proposed terms of the Broker s compensation are set forth in the Listing Agreement

11 (including the

12 Listing Agreement, the terms of compensation are as follows: The Debtor proposes to hire the

13 Brokers for a total commission of five percent (5%) of the selling price for the Property (payable

14 only upon close of sale) to be shared as follows: two percent (2

15 the other three percent (3%) to the Brokers. If the buyer does not have a broker or if the Brokers

16 represent both the Debtor and the buyer, then the Brokers would be entitled to a total commission

17 of four percent (4%). The proposed listing price for the Property is $2,300,000.00.

18            4.       Name, address and telephone number of person who will provide a copy of the

19            Application

20            A copy of the Appli

21 Attn.: Zev Shechtman at Danning, Gill, Israel & Krasnoff, LLP, at Email: ZS@DanningGill.com.

22                                                                                                    man,

23 1901 Avenue of the Stars, Suite 450, Los Angeles, California 90067 and the telephone number is

24 (310) 277-0077.

25

26 employment of the prior broker who listed this Property,

27                                                                                              , and any

28 transactions related thereto.

     1688146.2 27086                                      2
                                                                                    Exhibit 7, Page 102
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 1            The Application is based upon this Notice of Application, the attached Memorandum of

 2 Points and Authorities, the attached Declaration of Zhao Pu Yang, the attached Statements of

 3 Disinterestedness, the complete files and records of this case, and such other evidentiary matters as

 4 may be presented to the Court.

 5            PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013

 6 1(o)(1)(A)(ii), any objection and request for hearing must be in writing and must be filed and

 7 served within fourteen (14) days after of the date of mailing of this Notice, plus an additional 3

 8 days if this notice of motion was served by mail or pursuant to Fed. R. Civ. P. 5(b)(2)(D) or (F).

 9 The response or opposition to the application shall be filed with the Bankruptcy Court and served

10 on the United States Trustee, at 915 Wilshire Boulevard, Suite 1850, Los Angeles, CA 90017, and

11 counsel for the Trustee, Zev Shechtman, at 1901 Avenue of the Stars, Suite 450, Los Angeles, CA

12 90067.

13            If you fail to file a written response within fourteen days of the date of the service of this

14 notice, plus an additional 3 days if this notice of motion was served by mail or pursuant to Fed. R.

15 Civ. P. 5(b)(2)(D) or (F), the Court may treat such failure as a waiver of your right to oppose the

16 application and may grant the requested relief.

17

18    DATED: July ___, 2022                             DANNING, GILL, ISRAEL & KRASNOFF, LLP

19

20                                                      By:

21                                                                   ZEV SHECHTMAN
                                                              General Bankruptcy Counsel for Jinzheng
22                                                            Group (USA) LLC, Debtor and Debtor in
                                                              Possession
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                                                                                       Exhibit 7, Page 103
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 1                            MEMORANDUM OF POINTS & AUTHORITIES

 2            Jinzheng Group (USA) LLC, the Debtor and Debtor in Possession                                or

 3    Debtor                                                   Re/Max Of Cerritos and Coldwell Banker

 4 (the                 through its agents Stephen Eng and William Friedman respectively as the

 5 real estate brokers in this case, pursuant to an exclusive listing agreement, based upon the

 6 following:

 7                     1.                                                                                       e

 8

 9 Debtor continues in possession of its property and is operating and managing its business as a

10 debtor in possession pursuant to the provisions of 11 U.S.C. §§ 1107(a) and 1108. No trustee or

11

12                     2.     Included as property of the estate is real property located at 2240 Lorain

13 Road, San Marino, California 91108

14 there are three liens on the Property. Applicant is further informed that both the first and second

15 lienholders are preparing to file motions for relief from stay to foreclose on the Property. Although

16 the Property was originally listed for $2.45 million with the former broker, Jay Wu of LT

17 Management Group, in or around February 2022, it has been in escrow for several months on an

18 attempted short sale. The Debtor has been unable to obtain the consent of the third lienholder,

19 DNQ LLC to a sale                                                           Accordingly, the attempt to

20 market and sell the Property with the former broker has been unsuccessful.

21                     3.     T                                                   , and must be replaced.

22 Applicant has determined that, in order to attempt to market the Property for sale, Applicant

23 requires the services of new agents who are familiar with the bankruptcy sale process and will be

24 able to work effectively                                                        By its terms the listing

25 agreement with the former broker expires August 1, 2022. See docket no. 91 at ECF p. 19.

26 However, Applicant requests that the services of the former broker be terminated early, effective

27 June 30, 2022, to help facilitate a sale for the benefit of creditors, and that any transaction

28 contemplated under such listing agreement be voided, without prejudice to the right of parties who

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                                                                                     Exhibit 7, Page 104
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 1 were interested in purchasing the Property previously presenting new offers to purchase the

 2 Property.

 3                     4.   Applicant believes that there is urgency and need for these changes given the

 4 threats of foreclosure made by the first and second lienholders.

 5                     5.   It is necessary for Applicant to sell the Property in order to pay expenses of

 6 administration and the claims of creditors

 7 unsecured debts. Applicant has determined that the best way to market the Property would be

 8 through a licensed real estate broker with experience in marketing in the Los Angeles County area

 9 where the Property is located, and who understands bankruptcy sale processes, to whom Applicant

10 would grant an exclusive listing.

11                     6.   Applicant proposes to employ Re/Max Of Cerritos and Coldwell Banker

12 through their agents Stephen Eng and William Friedman respectively as its real estate brokers

13 because they are licensed real estate agents experienced in dealing with real property where the

14 Property is located. Mr. Friedman is an expert in bankruptcy sales.

15                     7.   Applicant proposes to hire Re/Max Of Cerritos And Coldwell Banker as its

16 real estate broker for a total commission of five percent (5%) of the selling price for the Property

17 (payable only upon close of sale) to be shared as follows: two percent (2

18 any, and the other three percent (3%) to the Brokers. If the buyer does not have a broker or if the

19 Brokers represent both the Debtor and the buyer, then the Brokers would be entitled to a total

20 commission of four percent (4%).

21                     8.   The terms of the exclusive listing agreement upon which the Debtor

22 proposes to enter into with Re/Max Of Cerritos and Coldwell Banker is reflec

23 attached hereto and incorporated herein by this reference.

24                     9.   The Debtor also seeks authorization from the Court to enter into the listing

25 agreement with Re/Max Of Cerritos And Coldwell Banker with regard to the Property and to

26 extend the agreement from time to time as it believes in its discretion to be appropriate under the

27 circumstances without further notice or order of the Court.

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 1                     10.   Applicant believes the employment of Re/Max Of Cerritos And Coldwell

 2 Banker is in the best interest of the estate, based on the above noted facts. The Property will be

 3 advertised in Los Angeles County which will assist the Debtor in increasing the likelihood that an

 4 overbid will be received.

 5            WHEREFORE, Applicant prays for entry of an order authorizing it to 1) employ Re/Max

 6 Of Cerritos And Coldwell Banker through its agents, Stephen Eng and William Friedman

 7 respectively as the            real estate brokers effective as of July 1, 2022; 2) execute an exclusive

 8 listing agreement consistent with the terms and conditions set forth in Exhibit 1 attached hereto,

 9 subject to price modifications as appropriate in consultation with the Brokers; 3) authorize

10 Applicant to extend that agreement in its sole discretion without further notice or order of the

11 Court; 4) authorize Applicant to take such other actions as necessary in furtherance of the

12

13 hearing under section 363 of the Bankruptcy Code; 5) authorize the termination of the listing

14 agreement and the employment by the estate of Jay Wu of LT Management Group effective as of

15 June 30, 2022 as well any transactions associated therewith, without prejudice to the ability of

16 interested parties to submit new offers to the Debtor; and 6) for all other further and proper relief.

17

18 DATED: July __, 2022                         DANNING, GILL, ISRAEL & KRASNOFF, LLP

19

20
                                                By:
21                                                    ZEV SHECHTMAN
                                                      General Bankruptcy Counsel for Jinzheng Group
22                                                    (USA) LLC, Debtor and Debtor in Possession
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                                                                                    Exhibit 7, Page 106
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 1                                  DECLARATION OF ZHAO PU YANG

 2            I, ZHAO PU YANG, declare and state as follows:

 3            1.       I have personal knowledge of each of the facts herein, except those set forth on

 4 information and belief and, as to those matters, I believe them to be true. If called as a witness, I

 5 could and would testify competently with respect to such facts.

 6            2.       I am the attorney in fact for Jianqing Yang, the managing member of Jinzheng

 7

 8            3.       This

 9 Employ Re/Max Of Cerritos And Coldwell Banker as its Real Estate Brokers Pursuant to 11 U.S.C.

10                               . To the best of my knowledge and belief, all of the statements made in

11 the Application are true and correct.

12            4.                                                              Re/Max Of Cerritos and

13 Coldwell Banker, through its agents Stephen Eng and William Friedman as its real estate brokers is

14 appropriate and in the best interests of the estate. In my business judgment it is also necessary to

15 terminate the employment of my former brokers for this Property.

16            I declare under penalty of perjury under the laws of the United States of America that the

17 foregoing is true and correct.

18

19            Executed on July ___, 2022, at Los Angeles, California.

20

21                                                   _____________________________
                                                     ZHAO PU YANG, Attorney in Fact
22

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     1688146.2 27086                                     7
                                                                                     Exhibit 7, Page 107
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 1                     STATEMENT OF DISINTERESTEDNESS FOR EMPLOYMENT
                           OF PROFESSIONAL PERSON UNDER F.R.B.P. 2014
 2                                     (Re/Max of Cerritos)
 3
          1.
 4 submitting this Statement:

 5            RE/MAX OF CERRITOS
              17212 Norwalk Boulevard
 6            Cerritos, CA 90703
              Telephone: 626-353-2384
 7

 8            2.       The services to be rendered by the Professional in this case are (specify):

 9         To market and sell real property located at 2240 Lorain Road, San Marino, California
   91108
10 expertise and experience.

11
             3.       The terms and source of the proposed compensation and reimbursement of the
12   Professional are (specify):
             a total commission of five percent (5%) of the selling price for the Property (payable only
13   upon close of sale) to be shared as follows: two percent (2                     er, if any, and the
     other three percent (3%) to the Brokers. If the buyer does not have a broker or if the Brokers
14   represent both the Debtor and the buyer, then the Brokers would be entitled to a total commission
15   of four percent (4%).

16          4.      The nature and terms of retainer (i.e., nonrefundable versus an advance against fees)
     held by the Professional are (specify):
17
              N/A
18

19           5.     The investigation of disinterestedness made by the Professional prior to submitting
     this Statement consisted of (specify):
20
          I have reviewed my files of past clients. I was never involved with any transaction on this
21 Property.

22
          6.
23 the Chapter  11 Debtor, the debtors, principals of the debtors, insiders, the           creditors, any
   other party or parties in interest, and their respective attorneys and accountants, or any person
24 employed in the Office of the United States Trustee (specify, attaching extra pages as necessary):

25         The Debtor will also employ Re/Max of Cerritos (together with Mr. Friedman) to list and
   market property located at 150 East L
26
   and if that property is brought back into the estate. Re/Max of Cerritos has already listed Arcadia.
27

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                                                                                      Exhibit 7, Page 108
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 1          7.      The Professional is not a creditor, an equity security holder or an insider of the
     debtors, except as follows (specify, attaching extra pages as necessary):
 2
              None
 3

 4           8.      The Professional is not and was not an investment banker for any outstanding
     security of the Debtors.
 5
           9.      The Professional has not been within three (3) years before the date of the filing of
 6 the petition herein, an investment banker for a security of the debtors, or an attorney for such an
   investment banker in connection with the offer, sale or issuance of any security of the Debtors.
 7

 8         10.     The Professional is not and was not, within two (2) years before the date of the
   filing of the petition herein, a director, officer or employee of the Debtor or of any investment
 9 banker for any security of the debtors.

10         11.      The Professional neither holds nor represents any interest materially adverse to the
11 interest of the estate or of any class of creditors or equity security holders, by reason of any direct
   or indirect relationship to, connection with, or interest in, the Debtor or any investment banker for
12 any security of the debtors, or for any other reason, except as follows (specify, attaching extra
   pages as necessary):
13
           None
14

15           12.    Name, address and telephone number of the person signing this Statement on behalf
     of the Professional and the relationship of such person to the Professional (specify):
16
              Stephen Eng
17            RE/MAX OF CERRITOS
              17212 Norwalk Boulevard
18
              Cerritos, CA 90703
19            Telephone: 626-353-2384

20
         13.    The Professional is not a relative or employee of the United States Trustee or a
21 Bankruptcy Judge, except as follows (specify, attaching extra pages as necessary):

22
              N/A
23
              14.      Total number of attached pages of supporting documentation: 19
24

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     1688146.2 27086                                    9
                                                                                    Exhibit 7, Page 109
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 1          15.    After conducting or supervising the investigation described in Paragraph 5 above, I
   declare under penalty of perjury under the laws of the United States of America, that the foregoing
 2 is true and correct except that I declare that Paragraphs 6 through 11 are stated on information and
   belief.
 3

 4            Executed on this ____ day of July, 2022 at Los Angeles, California.

 5

 6                                                               _______________________________
                                                                       STEPHEN ENG
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                                                                                    Exhibit 7, Page 110
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 1                STATEMENT OF DISINTERESTEDNESS FOR EMPLOYMENT
                      OF PROFESSIONAL PERSON UNDER F.R.B.P. 2014
 2                         {Coldwell Banker Residential Brokerage}

 3          1.
     submitting this Statement:
 4
            William Friedman
 5          Coldwell Banker Residential Brokerage
            1608 Montana Avenue
 6          Santa Monica, CA 90405
 7          Telephone: (310) 829-3939

 8          2.      The services to be rendered by the Professional in this case are (specify):

 9          To list and aid the Trustee in marketing and selling real property located at 2240 Lorain
            Road, San Marino, California 91108. Attached                 3
10          which describes my expertise and experience.
11
          3.      The terms and source of the proposed compensation and reimbursement of the
12 Professional are (specify):

13          a total commission of five percent (5%) of the selling price for the Property (payable only
            upon close of sale) to be shared as follows: two percent (2
14          the other three percent (3%) to the Brokers. If the buyer does not have a broker or if the
15          Brokers represent both the Debtor and the buyer, then the Brokers would be entitled to a
            total commission of four percent (4%).
16
          4.      The nature and terms of retainer (i.e., nonrefundable versus an advance against fees)
17 held by the Professional are (specify):  N/A

18           5.     The investigation of disinterestedness made by the Professional prior to submitting
     this Statement consisted of (specify):
19
            I have reviewed my files of past clients. I was never involved with any transaction on this
20          Property.
21
          6.       The following is a complete description of all
22 the Chapter 7 trustee, the Debtor, principals of the Debtor, insiders, the Debtor
   other party or parties in interest, and their respective attorneys and accountants, or any person
23 employed in the Office of the United States Trustee (specify, attaching extra pages as necessary):

24          None, except that I have previously been employed as broker by bankruptcy trustees who
            were either members of Danning, Gill, Israel & Krasnoff, LLP or were clients of that firm,
25          unrelated to the Debtor. In addition, the Debtor will also employ Coldwell Banker (together
            with Mr. Eng) to list and market property located at 150 East La Sierra Drive, Arcadia,
26
                                                                                    into the estate.
27

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                                                                                              000011
                                                                                   Exhibit 7, Page 111
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                                                                 Exhibit 7, Page 112
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                                                                           000013
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                                               specify




date




    date




date




                                                             /s/ Vivian Servin
  Date                         Printed Name                  Signature




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                                   Los Angeles, CA 90012




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  David Park                        Anthony Rodriguez                 620 Newport Center Dr., #1100
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  Los Angeles, CA 900171            Los Angeles, CA 90015




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Buchalter, 1000 Wilshire Blvd., Suite 1500, Los Angeles, CA 90017


A true and correct copy of the foregoing document entitled (specify): REQUEST FOR JUDICIAL NOTICE
IN SUPPORT OF ROYAL BUSINESS BANK’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
8/10/2022           , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

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            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 2:21-bk-16674-ER                    Doc 336 Filed 08/10/22 Entered 08/10/22 14:44:41                                       Desc
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    •   John N Tedford jtedford@DanningGill.com, danninggill@gmail.com;jtedford@ecf.courtdrive.com
    •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •   Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 8/10/2022           , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
  Debtor                                                         Presiding Judge:
  Jinzheng Group (USA) LLC                                       Hon. Ernest M. Robles
  1414 S Azusa Ave, Suite B-22                                   U.S. Bankruptcy Court
  West Covina, CA 91791                                          255 E. Temple Street, Suite 1560
                                                                 Los Angeles, CA 90012

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

8/10/2022                      Margie Arias                                                    /s/ Margie Arias
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 2:21-bk-16674-ER                    Doc 336 Filed 08/10/22 Entered 08/10/22 14:44:41                                       Desc
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2. SERVED BY UNITED STATES MAIL (Cont’d.):

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